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               EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

            v.
                                                          Crim. No. 18-cr-32-2 (DLF)
CONCORD MANAGEMENT AND
CONSULTING LLC,

                 Defendant


        DECLARATION OF FBI SPECIAL AGENT ALEKSANDR KOBZANETS

       I, Aleksandr Kobzanets, hereby state as follows:

       1.        I am a Special Agent with the Federal Bureau of Investigation ("FBI") and have

been so employed since June 2005. I am presently on detail to the Special Counsel's Office from

a Cyber National Security Squad in the· FBI's San Francisco Field Office. As a Special Agent, I

have received specialized training and instruction in the field of computer-related crimes. I have

conducted national security investigations of foreign intelligence services and cybersecurity

matters. I speak, write, and read the Russian language.

       2.        As part of the government's ongoing investigation, I have reviewed publicly

available documents related to Concord Management and Consulting LLC ("Concord

Management") on the website of the Federal Tax Service of Russia. This website, available at

www.nalog.ru, is a government website of the Russian Federation, and contains tax information

for Russian corporations.

       3.        On or about January 18, 2018, I accessed the Federal Tax Service website and

looked up corporate records for Concord Management, which resulted in responsive records.

According to these records reviewed on or about January 18, 2018, Concord Management was

assigned the Taxpayer Identification Number 7825100880. Yevgeniy Viktorovich Prigozhin was


                                            Page 1 of 2
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listed as the sole owner of Concord Management. The general director (the Russian equivalent to

the chief executive officer) was listed as Dmitriy Valeryevich Utkin. According to the records,

Utkin had served as the general director of Concord Management since November 14, 2017. I

saved a copy of these records, which are attached to this Declaration as Attachment 1.

       4.       Subsequent to identifying Utkin's name on Concord Management's tax documents,

I searched for Utkin's name in open sources. The search revealed articles from Russian news

outlets, which noted that as of November 2017, Utkin was listed as the general director of Concord

Management. One of these articles, for example, was in The Moscow Times and is still publicly

available. A printout of attached article is attached to this Declaration as Attachment 2.

       5.       On or about May 9, 2018, I again accessed the Federal Tax Service website and

looked up corporate records for Concord Management and found responsive records. According

to these records reviewed on or about May 9, 2018, Concord Management still was assigned the

Taxpayer Identification Number 7825100880, and Prigozhin still was listed as the sole owner of

Concord Management. However, the listed general director was now listed as Prigozhin, not

Utkin. According to the records, Prigozhin had served as the general director of Concord

Management since March 1, 2018. I saved a copy of these records, which are attached to this

Declaration as Attachment 3.



                                                      Respectfully Submitted




                                                      Ale sandr Kobzanets
                                                      Special Agent
                                                      Federal Bureau of Investigation




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             EXHIBIT A-1
(Original Russian Document & Partial
    English Translation Enclosed)
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       (Original Russian Document)
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                   ЕДИНЫЙ ГОСУДАРСТВЕННЫЙ РЕЕСТР ЮРИДИЧЕСКИХ ЛИЦ

                                 Сведения о юридическом лице

  ОБЩЕСТВО С ОГРАНИЧЕННОЙ ОТВЕТСТВЕННОСТЬЮ "КОНКОРД МЕНЕДЖМЕНТ И
                            КОНСАЛТИНГ"

ОГРН 1037843002515
ИНН/КПП 7825100880/784101001
по состоянию на 17.01.2018

№ п/п             Наименование показателя                     Значение показателя
 1                             2                                       3
                                          Наименование
   1     Полное наименование                       ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                   ОТВЕТСТВЕННОСТЬЮ "КОНКОРД
                                                   МЕНЕДЖМЕНТ И КОНСАЛТИНГ"
   2     Сокращенное наименование                  ООО "КОНКОРД МЕНЕДЖМЕНТ И
                                                   КОНСАЛТИНГ"
   3     ГРН и дата внесения в ЕГРЮЛ записи,       1037843002515
         содержащей указанные сведения             08.01.2003
                                  Адрес (место нахождения)
   4     Почтовый индекс                           191011
   5     Субъект Российской Федерации              ГОРОД САНКТ-ПЕТЕРБУРГ
   6     Улица (проспект, переулок и т.д.)         НАБЕРЕЖНАЯ РЕКИ ФОНТАНКИ
   7     Дом (владение и т.п.)                     ДОМ 13
   8     Корпус (строение и т.п.)                  ЛИТЕР А
   9     Офис (квартира и т.п.)                    ПОМЕЩЕНИЕ 2-Н №4
  10     ГРН и дата внесения в ЕГРЮЛ записи,       8167847535881
         содержащей указанные сведения             27.06.2016
                                   Сведения о регистрации
  11     Способ образования                        Создание юридического лица до 01.07.2002
  12     ОГРН                                      1037843002515
  13     Дата присвоения ОГРН                      08.01.2003
  14     Регистрационный номер, присвоенный до 1 48492
         июля 2002 года
  15     Дата регистрации до 1 июля 2002 года      26.05.1997
  16     Наименование органа,                      Регистрационная палата Администрации
         зарегистрировавшего юридическое лицо до Санкт-Петербурга
         1 июля 2002 года
  17     ГРН и дата внесения в ЕГРЮЛ записи,       1037843002515
         содержащей указанные сведения             08.01.2003
         Сведения о регистрирующем органе по месту нахождения юридического лица
  18     Наименование регистрирующего органа       Межрайонная инспекция Федеральной
                                                   налоговой службы №15 по Санкт-
                                                   Петербургу
  19     Адрес регистрирующего органа              ,191124, Санкт-Петербург г,,,, Красного
                                                   Текстильщика ул, д 10-12 лит.О,,
  20     ГРН и дата внесения в ЕГРЮЛ записи,       01.04.2005
         содержащей указанные сведения
Сведения с сайта ФНС России
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                         Сведения об учете в налоговом органе
  21 ИНН                                       7825100880
  22 КПП                                       784101001
  23 Дата постановки на учет                   28.11.2005
  24 Наименование налогового органа            Межрайонная инспекция Федеральной
                                               налоговой службы №10 по Санкт-
                                               Петербургу
  25 ГРН и дата внесения в ЕГРЮЛ записи,       2057813030361
      содержащей указанные сведения            28.11.2005
      Сведения о регистрации в качестве страхователя в территориальном органе
                       Пенсионного фонда Российской Федерации
  26 Регистрационный номер                     088027037673
  27 Дата регистрации                          05.06.1997
  28 Наименование территориального органа      Государственное Учреждение Управление
      Пенсионного фонда                        Пенсионного фонда РФ по Центральному
                                               району Санкт-Петербурга
  29 ГРН и дата внесения в ЕГРЮЛ записи,       6067847397337
      содержащей указанные сведения            26.05.2006
    Сведения о регистрации в качестве страхователя в исполнительном органе Фонда
                   социального страхования Российской Федерации
  30 Регистрационный номер                     782700154978041
  31 Дата регистрации                          22.03.2001
  32 Наименование исполнительного органа       Филиал №4 Санкт-Петербургского
      Фонда социального страхования            регионального отделения Фонда
                                               социального страхования Российской
                                               Федерации
  33 ГРН и дата внесения в ЕГРЮЛ записи,       8167847046029
      содержащей указанные сведения            25.06.2016
 Сведения об уставном капитале (складочном капитале, уставном фонде, паевых взносах)
  34 Вид                                       УСТАВНЫЙ КАПИТАЛ
  35 Размер (в рублях)                         500000
  36 ГРН и дата внесения в ЕГРЮЛ записи,       7117847655985
      содержащей указанные сведения            17.08.2011
 Сведения о лице, имеющем право без доверенности действовать от имени юридического
                                         лица
  37 ГРН и дата внесения в ЕГРЮЛ сведений о 9177847665811
      данном лице                              14.11.2017

  38     Фамилия                                 УТКИН
  39     Имя                                     ДМИТРИЙ
  40     Отчество                                ВАЛЕРЬЕВИЧ
  41     ИНН
  42     ГРН и дата внесения в ЕГРЮЛ записи,     9177847665811
         содержащей указанные сведения           14.11.2017
  43     Должность                               ГЕНЕРАЛЬНЫЙ ДИРЕКТОР
  44     ГРН и дата внесения в ЕГРЮЛ записи,     9177847665811
         содержащей указанные сведения           14.11.2017
                  Сведения об учредителях (участниках) юридического лица
  45     ГРН и дата внесения в ЕГРЮЛ сведений о 2177847844645
         данном лице                             28.02.2017

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  46     Фамилия                                    ПРИГОЖИН
  47     Имя                                        ЕВГЕНИЙ
  48     Отчество                                   ВИКТОРОВИЧ
  49     ИНН
  50     ГРН и дата внесения в ЕГРЮЛ записи,        2177847844645
         содержащей указанные сведения              28.02.2017

  51  Номинальная стоимость доли (в рублях)    500000
  52  Размер доли (в процентах)                100
  53  ГРН и дата внесения в ЕГРЮЛ записи,      2177847844645
      содержащей указанные сведения            28.02.2017
  Сведения о видах экономической деятельности по Общероссийскому классификатору
                           видов экономической деятельности
                            (ОКВЭД ОК 029-2014 КДЕС. Ред. 2)
                        Сведения об основном виде деятельности
  54 Код и наименование вида деятельности      56.10 Деятельность ресторанов и услуги по
                                               доставке продуктов питания
  55 ГРН и дата внесения в ЕГРЮЛ записи,       7147847226333
      содержащей указанные сведения            17.06.2014
                     Сведения о дополнительных видах деятельности
                                            1
  56 Код и наименование вида деятельности      56.10.1 Деятельность ресторанов и кафе с
                                               полным ресторанным обслуживанием,
                                               кафетериев, ресторанов быстрого питания и
                                               самообслуживания
  57 ГРН и дата внесения в ЕГРЮЛ записи,       7147847226333
      содержащей указанные сведения            17.06.2014
                                            2
  58 Код и наименование вида деятельности      56.10.3 Деятельность ресторанов и баров по
                                               обеспечению питанием в железнодорожных
                                               вагонахресторанах и на судах
  59 ГРН и дата внесения в ЕГРЮЛ записи,       7147847226333
      содержащей указанные сведения            17.06.2014
                                            3
  60 Код и наименование вида деятельности      56.29 Деятельность предприятий
                                               общественного питания по прочим видам
                                               организации питания
  61 ГРН и дата внесения в ЕГРЮЛ записи,       7127847387287
      содержащей указанные сведения            14.06.2012
                                            4
  62 Код и наименование вида деятельности      68.20.2 Аренда и управление собственным
                                               или арендованным нежилым недвижимым
                                               имуществом
  63 ГРН и дата внесения в ЕГРЮЛ записи,       6177847818780
      содержащей указанные сведения            27.04.2017
                                            5
  64 Код и наименование вида деятельности      77.11 Аренда и лизинг легковых
                                               автомобилей и легких автотранспортных
                                               средств


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  65     ГРН и дата внесения в ЕГРЮЛ записи,        6177847818780
         содержащей указанные сведения              27.04.2017
                                                6
  66     Код и наименование вида деятельности       77.34 Аренда и лизинг водных
                                                    транспортных средств и оборудования
  67     ГРН и дата внесения в ЕГРЮЛ записи,        6177847818780
         содержащей указанные сведения              27.04.2017
                                                7
  68     Код и наименование вида деятельности    77.39.25 Аренда и лизинг контрольно-
                                                 измерительной аппаратуры
  69     ГРН и дата внесения в ЕГРЮЛ записи,     6177847818780
         содержащей указанные сведения           27.04.2017
                                    Сведения о лицензиях
                                             1
  70     Номер лицензии                          ВП-19-003667
  71     Дата лицензии                           20.11.2012
  72     Дата начала действия лицензии           20.11.2012
  73     Вид лицензируемой деятельности, на      Эксплуатация взрывопожароопасных и
         который выдана лицензия                 химически опасных производственных
                                                 объектов I, II и III классов опасности
  74     Место действия лицензии                 199034, САНКТ-ПЕТЕРБУРГ,
                                                 УНИВЕРСИТЕТСКАЯ НАБ, Д.1/3, ЛИТ.А,
                                                 ПОМ.1-Н
  75     Место действия лицензии                 197198, САНКТ-ПЕТЕРБУРГ, БОЛЬШОЙ
                                                 ПРОСПЕКС П.С., Д. 7/4, ЛИТ. Б, ПОМ. 1-
                                                 Н
  76     Наименование лицензирующего органа,     Северо-Западное управление Федеральной
         выдавшего или переоформившего           службы по экологическому,
         лицензию                                технологическому и атомному надзору
  77     ГРН и дата внесения в ЕГРЮЛ записи,     6137847627714
         содержащей указанные сведения           21.05.2013
                                             2
  78     Номер лицензии                          МР-2 001466
  79     Дата лицензии                           15.09.2014
  80     Дата начала действия лицензии           15.09.2014
  81     Вид лицензируемой деятельности, на      Деятельность по перевозкам внутренним
         который выдана лицензия                 водным транспортом, морским
                                                 транспортом пассажиров
  82     Место действия лицензии                 Суда,указанные в приложении к настоящей
                                                 лицензии в районах
                                                 плавания,установленных судовыми
                                                 документами
  83     Наименование лицензирующего органа,     СЕВЕРО-ЗАПАДНОЕ УПРАВЛЕНИЕ
         выдавшего или переоформившего           ГОСУДАРСТВЕННОГО МОРСКОГО И
         лицензию                                РЕЧНОГО НАДЗОРА ФЕДЕРАЛЬНОЙ
                                                 СЛУЖБЫ ПО НАДЗОРУ В СФЕРЕ
                                                 ТРАНСПОРТА
  84     ГРН и дата внесения в ЕГРЮЛ записи,     8167847967752
         содержащей указанные сведения           19.07.2016
                                             3
  85     Номер лицензии                          0007147


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  86     Дата лицензии                              30.12.2015
  87     Дата начала действия лицензии              30.12.2015
  88     Вид лицензируемой деятельности, на         Розничная продажа алкогольной
         который выдана лицензия                    продукции, лицензируемая субъектами
                                                    Российской Федерации или органами
                                                    местного самоуправления в соответствии с
                                                    предоставленными законом полномочиями
  89     Наименование лицензирующего органа,        Комитет по развитию предпринимательства
         выдавшего или переоформившего              и потребительского рынка Санкт-
         лицензию                                   Петербурга
  90     ГРН и дата внесения в ЕГРЮЛ записи,        9167847057215
         содержащей указанные сведения              28.07.2016
                                               4
  91     Номер лицензии                             ВХ-19 005166 Переоформ
  92     Дата лицензии                              28.09.2016
  93     Дата начала действия лицензии              28.09.2016
  94     Вид лицензируемой деятельности, на         Эксплуатация взрывопожароопасных и
         который выдана лицензия                    химически опасных производственных
                                                    объектов I, II и III классов опасности
  95     Место действия лицензии                    2) Санкт-Петербург, ул. Новая (Лахта), д.
                                                    51, корп. 82
  96     Место действия лицензии                    1) Санкт-Петербург, Университетская наб.,
                                                    д. 1/3, лит.А, пом. 1-Н
  97     Наименование лицензирующего органа,        Северо-Западное управление Федеральной
         выдавшего или переоформившего              службы по экологическому,
         лицензию                                   технологическому и атомному надзору
  98     ГРН и дата внесения в ЕГРЮЛ записи,        2167848181070
         содержащей указанные сведения              28.09.2016
                                               5
  99     Номер лицензии                             77РПО0012450
  100    Дата лицензии                              22.08.2017
  101    Дата начала действия лицензии              22.08.2017
  102    Дата окончания действия лицензии           22.08.2018
  103    Вид лицензируемой деятельности, на         Розничная продажа алкогольной
         который выдана лицензия                    продукции, лицензируемая субъектами
                                                    Российской Федерации или органами
                                                    местного самоуправления в соответствии с
                                                    предоставленными законом полномочиями
  104 Место действия лицензии                       г.Москва,регистровый № 241822, теплоход
                                                    "Ривер Лаундж" ,нижняя палуба.Бар
  105 Наименование лицензирующего органа,           Департамент торговли и услуг города
      выдавшего или переоформившего                 Москвы
      лицензию
  106 ГРН и дата внесения в ЕГРЮЛ записи,     8177847395003
      содержащей указанные сведения           21.08.2017
                           Сведения о правопредшественнике
                                           1
  107 ОГРН                                    1037804069621
  108 ИНН                                     7802220684




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  109 Полное наименование                           ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                    ОТВЕТСТВЕННОСТЬЮ
                                                    "ИНВЕСТОТЕЛЬ"
  110 ГРН и дата внесения в ЕГРЮЛ записи,           2067847484076
      содержащей указанные сведения                 09.03.2006
                                               2
  111 ОГРН                                          1037835071361
  112 ИНН                                           7816228468
  113 Полное наименование                           ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                    ОТВЕТСТВЕННОСТЬЮ "ВИЗИТ"
  114 ГРН и дата внесения в ЕГРЮЛ записи,           2067847485605
      содержащей указанные сведения                 09.03.2006
                                               3
  115 ОГРН                                          1037804065936
  116 ИНН                                           7802219086
  117 Полное наименование                           ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                    ОТВЕТСТВЕННОСТЬЮ "ИНВЕСТКОМ"
  118 ГРН и дата внесения в ЕГРЮЛ записи,           2067847486485
      содержащей указанные сведения                 10.03.2006
                                               4
  119 ОГРН                                          1027809174843
  120 ИНН                                           7825482478
  121 Полное наименование                           ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                    ОТВЕТСТВЕННОСТЬЮ "КОНКОРД-
                                                    ИНВЕСТ"
  122 ГРН и дата внесения в ЕГРЮЛ записи,           2067847491787
      содержащей указанные сведения                 10.03.2006
                                               5
  123 ОГРН                                    1027801532164
  124 ИНН                                     7804159065
  125 Полное наименование                     ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                              ОТВЕТСТВЕННОСТЬЮ "ПРЕСС-КАФЕ"
  126 ГРН и дата внесения в ЕГРЮЛ записи,     2067847486441
      содержащей указанные сведения           10.03.2006
   Сведения о записях, внесенных в Единый государственный реестр юридических лиц
                                          1
  127 ГРН и дата внесения записи в ЕГРЮЛ      1037843002515
                                              08.01.2003
  128 Причина внесения записи в ЕГРЮЛ         Внесение в Единый государственный
                                              реестр юридических лиц сведений о
                                              юридическом лице, зарегистрированном до
                                              1 июля 2002 года
  129 Наименование регистрирующего органа,    Инспекция Министерства Российской
      которым запись внесена в ЕГРЮЛ          Федерации по налогам и сборам по
                                              Центральному району Санкт-Петербурга

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  130 Серия, номер и дата выдачи свидетельства 78 004022439
                                               08.01.2003

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      Сведения о статусе записи
  131 Статус записи                                 В запись внесены исправления в связи с
                                                    технической ошибкой, допущенной
                                                    регистрирующим органом
  132 ГРН и дата записи, которой внесены            2057812816961
      исправления в связи с технической             09.11.2005
      ошибкой

  133 Статус записи                                 В запись внесены исправления в связи с
                                                    технической ошибкой, допущенной
                                                    регистрирующим органом
  134 ГРН и дата записи, которой внесены            2057813014818
      исправления в связи с технической             28.11.2005
      ошибкой
                                               2
  135 ГРН и дата внесения записи в ЕГРЮЛ            2037869011211
                                                    29.10.2003
  136 Причина внесения записи в ЕГРЮЛ               Государственная регистрация изменений,
                                                    внесенных в учредительные документы
                                                    юридического лица, связанных с внесением
                                                    изменений в сведения о юридическом лице,
                                                    содержащиеся в Едином государственном
                                                    реестре юридических лиц, на основании
                                                    заявления
  137 Наименование регистрирующего органа,          Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ                Российской Федерации по налогам и
                                                    сборам №11 по Санкт-Петербургу

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  138 Серия, номер и дата выдачи свидетельства 78 004629940
                                               29.10.2003
                                            3
  139 ГРН и дата внесения записи в ЕГРЮЛ       12.07.2004
  140 Причина внесения записи в ЕГРЮЛ          Представление сведений об учете
                                               юридического лица в налоговом органе
  141 Наименование регистрирующего органа,     Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ           Российской Федерации по налогам и
                                               сборам №11 по Санкт-Петербургу
                                            4
  142 ГРН и дата внесения записи в ЕГРЮЛ       2047844022411
                                               12.07.2004
  143 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               выделения из него другого юридического
                                               лица
  144 Наименование регистрирующего органа,     Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ           Российской Федерации по налогам и
                                               сборам №11 по Санкт-Петербургу




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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  145 Наименование документа                        Р12001 Заявление о создании ЮЛ при
                                                    выделении

  146 Наименование документа                        Устав ЮЛ

  147 Наименование документа                        Решение о реорганизации ЮЛ

  148 Наименование документа                        Разделительный баланс

  149 Наименование документа                        Документ об оплате государственной
                                                    пошлины

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  150 Серия, номер и дата выдачи свидетельства 78 005159025
                                               12.07.2004
                                            5
  151 ГРН и дата внесения записи в ЕГРЮЛ       2047841029454
                                               29.09.2004
  152 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  153 Наименование регистрирующего органа,     Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ           Российской Федерации по налогам и
                                               сборам №10 по Санкт-Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  154 Наименование документа                        Р14001 ЗАЯВЛЕНИЕ ОБ ИЗМЕНЕНИИ
                                                    СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                    УЧРЕДИТЕЛЬНЫМИ ДОКУМЕНТАМИ
  155 Номер документа                               1
  156 Дата документа                                23.09.2004

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  157 Серия, номер и дата выдачи свидетельства 78 005440241
                                               29.09.2004
                                            6
  158 ГРН и дата внесения записи в ЕГРЮЛ       2057810787571
                                               10.06.2005
  159 Причина внесения записи в ЕГРЮЛ          Представление сведений об учете
                                               юридического лица в налоговом органе
  160 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

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      Сведения о статусе записи
  161 Статус записи                                 В запись внесены исправления в связи с
                                                    технической ошибкой, допущенной
                                                    регистрирующим органом
  162 ГРН и дата записи, которой внесены            2057812816565
      исправления в связи с технической             09.11.2005
      ошибкой
                                               7
  163 ГРН и дата внесения записи в ЕГРЮЛ            2057810787582
                                                    10.06.2005
  164 Причина внесения записи в ЕГРЮЛ               Представление сведений об учете
                                                    юридического лица в налоговом органе
  165 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о статусе записи
  166 Статус записи                                 В запись внесены исправления в связи с
                                                    технической ошибкой, допущенной
                                                    регистрирующим органом
  167 ГРН и дата записи, которой внесены            2057812816587
      исправления в связи с технической             09.11.2005
      ошибкой
                                               8
  168 ГРН и дата внесения записи в ЕГРЮЛ            2057812816565
                                                    09.11.2005
  169 Причина внесения записи в ЕГРЮЛ               Внесение изменений в сведения о
                                                    юридическом лице, содержащиеся в
                                                    Едином государственном реестре
                                                    юридических лиц, в связи ошибками,
                                                    допущенными регистрирующим органом
  170 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
  171 ГРН и дата записи, в которую внесены          2057810787571
      исправления                                   10.06.2005
                                               9
  172 ГРН и дата внесения записи в ЕГРЮЛ            2057812816587
                                                    09.11.2005
  173 Причина внесения записи в ЕГРЮЛ               Внесение изменений в сведения о
                                                    юридическом лице, содержащиеся в
                                                    Едином государственном реестре
                                                    юридических лиц, в связи ошибками,
                                                    допущенными регистрирующим органом
  174 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
  175 ГРН и дата записи, в которую внесены          2057810787582
      исправления                                   10.06.2005
                                              10
  176 ГРН и дата внесения записи в ЕГРЮЛ            2057812816961
                                                    09.11.2005

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  177 Причина внесения записи в ЕГРЮЛ               Внесение изменений в сведения о
                                                    юридическом лице, содержащиеся в
                                                    Едином государственном реестре
                                                    юридических лиц, в связи с ошибками,
                                                    допущенными заявителем в ранее
                                                    представленном заявлении
  178 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  179 Наименование документа                        Р14001 ЗАЯВЛЕНИЕ ОБ ИСПРАВЛЕНИИ
                                                    ОШИБОК, ДОПУЩ.ЗАЯВИТ.В
                                                    ДР.ДОКУМ.О РЕГИСТРАЦИИ
  180 Дата документа                                07.11.2005

  181 Наименование документа                        ДОВЕРЕННОСТЬ
  182 Номер документа                               7
  183 Дата документа                                01.11.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  184 Серия, номер и дата выдачи свидетельства 78 005630434
                                               09.11.2005
  185 ГРН и дата записи, в которую внесены     1037843002515
      исправления                              08.01.2003
                                           11
  186 ГРН и дата внесения записи в ЕГРЮЛ       2057813014818
                                               28.11.2005
  187 Причина внесения записи в ЕГРЮЛ          Внесение изменений в сведения о
                                               юридическом лице, содержащиеся в
                                               Едином государственном реестре
                                               юридических лиц, в связи с ошибками,
                                               допущенными заявителем в ранее
                                               представленном заявлении
  188 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  189 Наименование документа                        Р14001 ЗАЯВЛЕНИЕ ОБ ИСПРАВЛЕНИИ
                                                    ОШИБОК, ДОПУЩ.ЗАЯВИТ.В
                                                    ДР.ДОКУМ.О РЕГИСТРАЦИИ
  190 Дата документа                                24.11.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  191 Серия, номер и дата выдачи свидетельства 78 005642243
                                               28.11.2005
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  192 ГРН и дата записи, в которую внесены          1037843002515
      исправления                                   08.01.2003
                                              12
  193 ГРН и дата внесения записи в ЕГРЮЛ            2057813014862
                                                    28.11.2005
  194 Причина внесения записи в ЕГРЮЛ               Представление сведений об учете
                                                    юридического лица в налоговом органе
  195 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              13
  196 ГРН и дата внесения записи в ЕГРЮЛ            2057813030350
                                                    28.11.2005
  197 Причина внесения записи в ЕГРЮЛ               Представление сведений об учете
                                                    юридического лица в налоговом органе
  198 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              14
  199 ГРН и дата внесения записи в ЕГРЮЛ            2057813030361
                                                    28.11.2005
  200 Причина внесения записи в ЕГРЮЛ               Представление сведений об учете
                                                    юридического лица в налоговом органе
  201 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              15
  202 ГРН и дата внесения записи в ЕГРЮЛ            2057813025312
                                                    29.11.2005
  203 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  204 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  205 Наименование документа                        P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                    НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  206 Дата документа                                24.11.2005

  207 Наименование документа                        ДОВЕРЕННОСТЬ
  208 Дата документа                                22.11.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  209 Серия, номер и дата выдачи свидетельства 78 005642249
                                               29.11.2005



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                                              16
  210 ГРН и дата внесения записи в ЕГРЮЛ            2057813177739
                                                    15.12.2005
  211 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  212 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  213 Наименование документа                        P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                    НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  214 Дата документа                                13.12.2005

  215 Наименование документа                        ДОВЕРЕННОСТЬ
  216 Дата документа                                12.12.2005

  217 Наименование документа                        РЕШЕНИЕ
  218 Номер документа                               12
  219 Дата документа                                12.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  220 Серия, номер и дата выдачи свидетельства 78 005652111
                                               15.12.2005
                                           17
  221 ГРН и дата внесения записи в ЕГРЮЛ       2067847484076
                                               09.03.2006
  222 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица
  223 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  224 Наименование документа                        P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                    ДЕЯТЕЛЬНОСТИ ПРИ
                                                    ПРИСОЕДИНЕНИИ
  225 Дата документа                                06.03.2006

  226 Наименование документа                        РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                    ЮРИДИЧЕСКОГО ЛИЦА
  227 Дата документа                                24.01.2005

  228 Наименование документа                        ДОГОВОР О ПРИСОЕДИНЕНИИ

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  229 Дата документа                                12.12.2005

  230 Наименование документа                        ПЕРЕДАТОЧНЫЙ АКТ
  231 Дата документа                                24.01.2005

  232 Наименование документа                        ПУБЛИКАЦИЯ (КОПИЯ)
  233 Дата документа                                21.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  234 Серия, номер и дата выдачи свидетельства 78 005859127
                                               09.03.2006
                                           18
  235 ГРН и дата внесения записи в ЕГРЮЛ       2067847485605
                                               09.03.2006
  236 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица
  237 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  238 Наименование документа                        P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                    ДЕЯТЕЛЬНОСТИ ПРИ
                                                    ПРИСОЕДИНЕНИИ

  239 Наименование документа                        РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                    ЮРИДИЧЕСКОГО ЛИЦА
  240 Дата документа                                12.12.2005

  241 Наименование документа                        ДОГОВОР О ПРИСОЕДИНЕНИИ
  242 Дата документа                                12.12.2005

  243 Наименование документа                        ПЕРЕДАТОЧНЫЙ АКТ
  244 Дата документа                                12.12.2005

  245 Наименование документа                        ПУБЛИКАЦИЯ (КОПИЯ)
  246 Дата документа                                12.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  247 Серия, номер и дата выдачи свидетельства 78 005859552
                                               09.03.2006
                                           19
  248 ГРН и дата внесения записи в ЕГРЮЛ       2067847486441
                                               10.03.2006
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  249 Причина внесения записи в ЕГРЮЛ               Реорганизация юридического лица в форме
                                                    присоединения к нему другого
                                                    юридического лица
  250 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  251 Наименование документа                        P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                    ДЕЯТЕЛЬНОСТИ ПРИ
                                                    ПРИСОЕДИНЕНИИ
  252 Дата документа                                06.03.2006

  253 Наименование документа                        РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                    ЮРИДИЧЕСКОГО ЛИЦА
  254 Номер документа                               6
  255 Дата документа                                24.01.2006

  256 Наименование документа                        ДОГОВОР О ПРИСОЕДИНЕНИИ
  257 Дата документа                                12.12.2005

  258 Наименование документа                        ПЕРЕДАТОЧНЫЙ АКТ
  259 Дата документа                                24.01.2006

  260 Наименование документа                        ПУБЛИКАЦИЯ (КОПИЯ), РЕШЕНИЕ №5
  261 Дата документа                                21.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  262 Серия, номер и дата выдачи свидетельства 78 005859675
                                               10.03.2006
                                           20
  263 ГРН и дата внесения записи в ЕГРЮЛ       2067847486485
                                               10.03.2006
  264 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица
  265 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  266 Наименование документа                        P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                    ДЕЯТЕЛЬНОСТИ ПРИ
                                                    ПРИСОЕДИНЕНИИ
  267 Дата документа                                06.03.2006



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  268 Наименование документа                        РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                    ЮРИДИЧЕСКОГО ЛИЦА
  269 Номер документа                               5
  270 Дата документа                                24.01.2006

  271 Наименование документа                        ДОГОВОР О ПРИСОЕДИНЕНИИ
  272 Дата документа                                12.12.2005

  273 Наименование документа                        ПЕРЕДАТОЧНЫЙ АКТ
  274 Дата документа                                24.01.2006

  275 Наименование документа                        ПУБЛИКАЦИЯ (КОПИЯ)
  276 Дата документа                                21.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  277 Серия, номер и дата выдачи свидетельства 78 005859677
                                               10.03.2006
                                           21
  278 ГРН и дата внесения записи в ЕГРЮЛ       2067847491787
                                               10.03.2006
  279 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица
  280 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  281 Наименование документа                        P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                    ДЕЯТЕЛЬНОСТИ ПРИ
                                                    ПРИСОЕДИНЕНИИ
  282 Дата документа                                06.03.2006

  283 Наименование документа                        РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                    ЮРИДИЧЕСКОГО ЛИЦА
  284 Дата документа                                12.12.2005

  285 Наименование документа                        ДОГОВОР О ПРИСОЕДИНЕНИИ
  286 Дата документа                                12.12.2005

  287 Наименование документа                        ПЕРЕДАТОЧНЫЙ АКТ
  288 Дата документа                                12.12.2005

  289 Наименование документа                        ПУБЛИКАЦИЯ (КОПИЯ)


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      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  290 Серия, номер и дата выдачи свидетельства 78 005859857
                                               10.03.2006
                                           22
  291 ГРН и дата внесения записи в ЕГРЮЛ       2067847734601
                                               30.03.2006
  292 Причина внесения записи в ЕГРЮЛ          Государственная регистрация изменений,
                                               внесенных в учредительные документы
                                               юридического лица, связанных с внесением
                                               изменений в сведения о юридическом лице,
                                               содержащиеся в Едином государственном
                                               реестре юридических лиц, на основании
                                               заявления
  293 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  294 Наименование документа                        P13001 ЗАЯВЛЕНИЕ ОБ
                                                    ИЗМ.СВЕДЕНИЙ, ВНОСИМЫХ В
                                                    УЧРЕД.ДОКУМ.
  295 Дата документа                                28.03.2006

  296 Наименование документа                        УСТАВ ЮРИДИЧЕСКОГО ЛИЦА

  297 Наименование документа                        РЕШЕНИЕ О ВНЕСЕНИИ ИЗМЕНЕНИЙ
                                                    В УЧРЕДИТЕЛЬНЫЕ ДОКУМЕНТЫ

  298 Наименование документа                        ВСП 1991/0233
  299 Номер документа                               1949155
  300 Дата документа                                27.03.2006

  301 Наименование документа                        ПЕРЕДАТОЧНЫЙ АКТ, РЕШЕНИЕ № 12,
                                                    ДОГОВОР О ПРИСОЕДИНЕНИИ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  302 Серия, номер и дата выдачи свидетельства 78 005849193
                                               30.03.2006
                                           23
  303 ГРН и дата внесения записи в ЕГРЮЛ       2067847734667
                                               30.03.2006
  304 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц



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  305 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  306 Наименование документа                        P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                    НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  307 Дата документа                                28.03.2006

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  308 Серия, номер и дата выдачи свидетельства 78 005849194
                                               30.03.2006
                                           24
  309 ГРН и дата внесения записи в ЕГРЮЛ       6067847397337
                                               26.05.2006
  310 Причина внесения записи в ЕГРЮЛ          Представление сведений о регистрации
                                               юридического лица в качестве страхователя
                                               в территориальном органе Пенсионного
                                               фонда Российской Федерации
  311 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           25
  312 ГРН и дата внесения записи в ЕГРЮЛ       2079847013475
                                               10.01.2007
  313 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  314 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  315 Наименование документа                        P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                    НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  316 Дата документа                                26.12.2006

  317 Наименование документа                        РЕШЕНИЕ ОБЩЕГО СОБРАНИЯ
  318 Номер документа                               15
  319 Дата документа                                13.12.2006

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  320 Серия, номер и дата выдачи свидетельства 78 006064754
                                               10.01.2007



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                                              26
  321 ГРН и дата внесения записи в ЕГРЮЛ            6077847570707
                                                    07.05.2007
  322 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  323 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              27
  324 ГРН и дата внесения записи в ЕГРЮЛ            8089847566251
                                                    31.07.2008
  325 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о предоставлении лицензии
  326 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              28
  327 ГРН и дата внесения записи в ЕГРЮЛ            9089847022135
                                                    18.08.2008
  328 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о предоставлении лицензии
  329 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              29
  330 ГРН и дата внесения записи в ЕГРЮЛ            9089847105438
                                                    26.08.2008
  331 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о предоставлении лицензии
  332 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              30
  333 ГРН и дата внесения записи в ЕГРЮЛ            9089847197596
                                                    01.09.2008
  334 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о предоставлении лицензии
  335 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
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  336 ГРН и дата внесения записи в ЕГРЮЛ            9089847254257
                                                    05.09.2008
  337 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о предоставлении лицензии
  338 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
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  339 ГРН и дата внесения записи в ЕГРЮЛ            2089848341120
                                                    05.11.2008
  340 Причина внесения записи в ЕГРЮЛ               Государственная регистрация изменений,
                                                    внесенных в учредительные документы
                                                    юридического лица, связанных с внесением
                                                    изменений в сведения о юридическом лице,
                                                    содержащиеся в Едином государственном
                                                    реестре юридических лиц, на основании
                                                    заявления
  341 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  342 Наименование документа                        P13001 ЗАЯВЛЕНИЕ ОБ
                                                    ИЗМ.СВЕДЕНИЙ, ВНОСИМЫХ В
                                                    УЧРЕД.ДОКУМ.
  343 Дата документа                                31.10.2008

  344 Наименование документа                        ДОКУМЕНТ ОБ УПЛАТЕ
                                                    ГОСУДАРСТВЕННОЙ ПОШЛИНЫ
  345 Номер документа                               031402
  346 Дата документа                                23.10.2008

  347 Наименование документа                        УСТАВ ЮРИДИЧЕСКОГО ЛИЦА

  348 Наименование документа                        РЕШЕНИЕ О ВНЕСЕНИИ ИЗМЕНЕНИЙ
                                                    В УЧРЕДИТЕЛЬНЫЕ ДОКУМЕНТЫ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  349 Серия, номер и дата выдачи свидетельства 78 006975284
                                               05.11.2008
                                           33
  350 ГРН и дата внесения записи в ЕГРЮЛ       2089848341251
                                               05.11.2008
  351 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  352 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  353 Наименование документа                        P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                    НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  354 Дата документа                                31.10.2008


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  355 Наименование документа                        ДОВЕРЕННОСТЬ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  356 Серия, номер и дата выдачи свидетельства 78 006975285
                                               05.11.2008
                                           34
  357 ГРН и дата внесения записи в ЕГРЮЛ       8097847071810
                                               14.07.2009
  358 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о переоформлении документов,
                                               подтверждающих наличие лицензии
                                               (сведений о продлении срока действия
                                               лицензии)
  359 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           35
  360 ГРН и дата внесения записи в ЕГРЮЛ       9097847079300
                                               01.10.2009
  361 Причина внесения записи в ЕГРЮЛ          Государственная регистрация изменений,
                                               внесенных в устав общества с
                                               ограниченной ответственностью в целях
                                               приведения его в соответствие с
                                               положениями Федерального закона от
                                               30.12.2008 № 312-ФЗ
  362 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  363 Наименование документа                        Р13001 ЗАЯВЛЕНИЕ ОБ ИЗМЕНЕНИЯХ,
                                                    ВНОСИМЫХ В УЧРЕД.ДОКУМЕНТЫ

  364 Наименование документа                        РЕШЕНИЕ О ВНЕСЕНИИ ИЗМЕНЕНИЙ
                                                    В УЧРЕДИТЕЛЬНЫЕ ДОКУМЕНТЫ

  365 Наименование документа                        УСТАВ ЮЛ

  366 Наименование документа                        ДОКУМЕНТ ОБ ОПЛАТЕ
                                                    ГОСУДАРСТВЕННОЙ ПОШЛИНЫ
  367 Номер документа                               009981
  368 Дата документа                                22.09.2009

  369 Наименование документа                        ДОВЕРЕННОСТЬ

  370 Наименование документа                        ЗАЯВЛЕНИЕ НА ПРЕДОСТАВЛЕНИЕ
                                                    ВЫПИСКИ ИЗ ЕГРЮЛ СВЕДЕНИЯМИ О
                                                    ЮЛ
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  371 Наименование документа                        ПЛАТЕЖНЫЙ ДОКУМЕНТ ЗА
                                                    ПРЕДОСТАВЛЕНИЕ СОДЕРЖАЩИХСЯ
                                                    В ГОСУДАРСТВЕННОМ РЕЕСТРЕ
                                                    СВЕДЕНИЙ
  372 Номер документа                               009980
  373 Дата документа                                22.09.2009

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  374 Серия, номер и дата выдачи свидетельства 78 007527453
                                               01.10.2009
                                           36
  375 ГРН и дата внесения записи в ЕГРЮЛ       2117847367911
                                               10.02.2011
  376 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о предоставлении лицензии
  377 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

         Сведения о документах, представленных
         при внесении записи в ЕГРЮЛ
  378    Наименование документа                     СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  379    Номер документа                            00802
  380    Дата документа                             07.02.2011
                                             37
  381    ГРН и дата внесения записи в ЕГРЮЛ         6117847615077
                                                    23.05.2011
  382 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  383 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  384 Наименование документа                        СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  385 Номер документа                               20685
  386 Дата документа                                19.05.2011

  387 Наименование документа                        КОНВЕРТ
  388 Номер документа                               20685
  389 Дата документа                                19.05.2011

  390 Наименование документа                        ПИСЬМО

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  391 Номер документа                               20685
  392 Дата документа                                19.05.2011

  393 Наименование документа                        ПИСЬМО
  394 Номер документа                               20685
  395 Дата документа                                19.05.2011

  396 Наименование документа                        РЕШЕНИЕ ЛО О ПЕРЕОФОРМЛЕНИИ
                                                    ЛИЦЕНЗИИ
  397 Номер документа                               20685
  398 Дата документа                                19.05.2011
                                              38
  399 ГРН и дата внесения записи в ЕГРЮЛ            7117847655985
                                                    17.08.2011
  400 Причина внесения записи в ЕГРЮЛ               Государственная регистрация изменений,
                                                    внесенных в учредительные документы
                                                    юридического лица, связанных с внесением
                                                    изменений в сведения о юридическом лице,
                                                    содержащиеся в Едином государственном
                                                    реестре юридических лиц, на основании
                                                    заявления
  401 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  402 Наименование документа                        Р13001 ЗАЯВЛЕНИЕ ОБ ИЗМЕНЕНИЯХ,
                                                    ВНОСИМЫХ В УЧРЕД.ДОКУМЕНТЫ

  403 Наименование документа                        ДОКУМЕНТ ОБ ОПЛАТЕ
                                                    ГОСУДАРСТВЕННОЙ ПОШЛИНЫ
  404 Номер документа                               2253
  405 Дата документа                                29.07.2011

  406 Наименование документа                        РЕШЕНИЕ №32

  407 Наименование документа                        УСТАВ ЮЛ

  408 Наименование документа                        БУХГАЛТЕРСКАЯ ОТЧЕТНОСТЬ ЗА
                                                    2010 Г.

  409 Наименование документа                        ДОВЕРЕННОСТЬ

  410 Наименование документа                        ОПИСЬ




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      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  411 Серия, номер и дата выдачи свидетельства 78 008321715
                                               17.08.2011
                                           39
  412 ГРН и дата внесения записи в ЕГРЮЛ       7117847656007
                                               17.08.2011
  413 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  414 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  415 Наименование документа                        Р14001 ЗАЯВЛЕНИЕ ОБ
                                                    ИЗМ.СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                    ИЗМ. УЧРЕД.ДОКУМЕНТОВ (П.2.1)

  416 Наименование документа                        ОПИСЬ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  417 Серия, номер и дата выдачи свидетельства 78 008321716
                                               17.08.2011
                                           40
  418 ГРН и дата внесения записи в ЕГРЮЛ       8117847229129
                                               04.10.2011
  419 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о переоформлении документов,
                                               подтверждающих наличие лицензии
                                               (сведений о продлении срока действия
                                               лицензии)
  420 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

         Сведения о документах, представленных
         при внесении записи в ЕГРЮЛ
  421    Наименование документа                     СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  422    Номер документа                            06674
  423    Дата документа                             03.10.2011
                                             41
  424    ГРН и дата внесения записи в ЕГРЮЛ         9117847567521
                                                    27.12.2011




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  425 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  426 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

         Сведения о документах, представленных
         при внесении записи в ЕГРЮЛ
  427    Наименование документа                     СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  428    Номер документа                            08727
  429    Дата документа                             26.12.2011
                                             42
  430    ГРН и дата внесения записи в ЕГРЮЛ         7127847387287
                                                    14.06.2012
  431 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  432 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  433 Наименование документа                        Р14001 ЗАЯВЛЕНИЕ ОБ
                                                    ИЗМ.СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                    ИЗМ. УЧРЕД.ДОКУМЕНТОВ (П.2.1)

  434 Наименование документа                        ДОВЕРЕННОСТЬ

  435 Наименование документа                        ОПИСЬ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  436 Серия, номер и дата выдачи свидетельства 78 008620368
                                               14.06.2012
                                           43
  437 ГРН и дата внесения записи в ЕГРЮЛ       9127847918662
                                               04.12.2012
  438 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о предоставлении лицензии
  439 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  440 Наименование документа                        СОПРОВОДИТЕЛЬНОЕ ПИСЬМО

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  441 Номер документа                               45686
  442 Дата документа                                03.12.2012

  443 Наименование документа                        КОНВЕРТ
  444 Номер документа                               45686
  445 Дата документа                                03.12.2012

  446 Наименование документа                        РЕШЕНИЕ О ВЫДАЧЕ ЛИЦЕНЗИИ
  447 Номер документа                               45686
  448 Дата документа                                03.12.2012
                                              44
  449 ГРН и дата внесения записи в ЕГРЮЛ            6137847627714
                                                    21.05.2013
  450 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  451 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  452 Наименование документа                        СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  453 Номер документа                               18636
  454 Дата документа                                20.05.2013

  455 Наименование документа                        КОНВЕРТ
  456 Номер документа                               18636
  457 Дата документа                                20.05.2013

  458 Наименование документа                        РЕШЕНИЕ ЛО О ПЕРЕОФОРМЛЕНИИ
                                                    ЛИЦЕНЗИИ
  459 Номер документа                               18636
  460 Дата документа                                20.05.2013
                                              45
  461 ГРН и дата внесения записи в ЕГРЮЛ            7147847066569
                                                    30.05.2014
  462 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  463 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу




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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  464 Наименование документа                        СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  465 Номер документа                               20717
  466 Дата документа                                19.05.2014

  467 Наименование документа                        ПЕРЕЧЕНЬ
  468 Номер документа                               20717
  469 Дата документа                                19.05.2014
                                              46
  470 ГРН и дата внесения записи в ЕГРЮЛ            7147847226333
                                                    17.06.2014
  471 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  472 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  473 Наименование документа                        Р14001 ЗАЯВЛЕНИЕ ОБ
                                                    ИЗМ.СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                    ИЗМ. УЧРЕД.ДОКУМЕНТОВ (П.2.1)

  474 Наименование документа                        ОПИСЬ

  475 Наименование документа                        Доверенность
                                              47
  476 ГРН и дата внесения записи в ЕГРЮЛ            2167847136730
                                                    16.01.2016
  477 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о предоставлении лицензии
  478 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              48
  479 ГРН и дата внесения записи в ЕГРЮЛ            2167847384549
                                                    12.02.2016
  480 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  481 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              49
  482 ГРН и дата внесения записи в ЕГРЮЛ            2167847414370
                                                    16.02.2016

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  483 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  484 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              50
  485 ГРН и дата внесения записи в ЕГРЮЛ            2167847562947
                                                    01.03.2016
  486 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  487 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              51
  488 ГРН и дата внесения записи в ЕГРЮЛ            2167847641773
                                                    09.03.2016
  489 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  490 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              52
  491 ГРН и дата внесения записи в ЕГРЮЛ            6167847599892
                                                    11.05.2016
  492 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  493 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  494 Наименование документа                        ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  495 Наименование документа                        ИНОЙ ДОКУМ. В СООТВ.С
                                                    ЗАКОНОДАТЕЛЬСТВОМ РФ
                                              53
  496 ГРН и дата внесения записи в ЕГРЮЛ            8167847046029
                                                    25.06.2016
  497 Причина внесения записи в ЕГРЮЛ               Представление сведений о регистрации
                                                    юридического лица в качестве страхователя
                                                    в исполнительном органе Фонда
                                                    социального страхования Российской
                                                    Федерации
Сведения с сайта ФНС России
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  498 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              54
  499 ГРН и дата внесения записи в ЕГРЮЛ            8167847535881
                                                    27.06.2016
  500 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  501 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  502 Наименование документа                        ИНОЙ ДОКУМ. В СООТВ.С
                                                    ЗАКОНОДАТЕЛЬСТВОМ РФ

  503 Наименование документа                        ИНОЙ ДОКУМ. В СООТВ.С
                                                    ЗАКОНОДАТЕЛЬСТВОМ РФ

  504 Наименование документа                        ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001
                                              55
  505 ГРН и дата внесения записи в ЕГРЮЛ            8167847967752
                                                    19.07.2016
  506 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  507 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              56
  508 ГРН и дата внесения записи в ЕГРЮЛ            9167847057215
                                                    28.07.2016
  509 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  510 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              57
  511 ГРН и дата внесения записи в ЕГРЮЛ            2167848181070
                                                    28.09.2016
  512 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)


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  513 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              58
  514 ГРН и дата внесения записи в ЕГРЮЛ            2177847844645
                                                    28.02.2017
  515 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  516 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  517 Наименование документа                        ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  518 Наименование документа                        ИНОЙ ДОКУМ. В СООТВ.С
                                                    ЗАКОНОДАТЕЛЬСТВОМ РФ
                                              59
  519 ГРН и дата внесения записи в ЕГРЮЛ            6177847818780
                                                    27.04.2017
  520 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  521 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  522 Наименование документа                        ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  523 Наименование документа                        ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001
                                              60
  524 ГРН и дата внесения записи в ЕГРЮЛ            8177847395003
                                                    21.08.2017
  525 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о предоставлении лицензии
  526 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу
                                              61
  527 ГРН и дата внесения записи в ЕГРЮЛ            9177847665811
                                                    14.11.2017
  528 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  529 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу


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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  530 Наименование документа                        ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  531 Наименование документа                        ИНОЙ ДОКУМ. В СООТВ.С
                                                    ЗАКОНОДАТЕЛЬСТВОМ РФ


Сведения сформированы с сайта ФНС России с использованием сервиса «Сведения о
государственной регистрации юридических лиц, индивидуальных предпринимателей,
крестьянских (фермерских) хозяйств».




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        (Partial English Translation)
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[PARTIAL TRANSLATION]

                    UNIFORM STATE REGISTER OF LEGAL ENTITIES

                                            [USRLE]

                                 Information about a legal entity

              LIMITED LIABILITY COMPANY “CONCORD MANAGEMENT
                               AND CONSULTING”

 Primary State Registration Number (PSRN) 1037843002515
 TIN/RRC [Taxpayer reg. No./ Registration Reason Code] 7825100880/784101001 as of
 01/17/2018

№                Name of the indicator                                Indicator value
    1                         2                                                  3
                                                  Name
    1   Full name                                        LIMITED LIABILITY COMPANY
                                                         “CONCORD MANAGEMENT AND
                                                         CONSULTING”
    2   Abbreviated name                                 CONCORD MANAGEMENT AND
                                                         CONSULTING, LLC
    3   SRN and the date of entry into the               1037843002515
        USROLE that contains indicated information       01/08/2003
                                           Address (location)
   4    Zip code                                        191011
   5    Subject of the Russian Federation               CITY OF SAINT PETERSBURG
   6    Street (Avenue, Lane, etc.)                     NABEREZHNAYA REKI FONTANKA
   7    House (premises, etc.)                          BUILDING 13
   8    Building (structure, etc.)                      LETTER A
   9    Office (Apartment, etc.)                        ROOM 2-N #4
  10    SRN and the date of entry into the              8167847535881
        USROLE that contains indicated information      06/27/2016

                                       Information about the
                                              registration
 11     Manner of foundation                             Establishment of a legal entity prior to
 12     PSRN                                             1037843002515
 13     PSRN assignment date                             01/08/2003
 14     Registration number assigned prior to July       48492
        1, 2002


                                                 1
                                                                                  SCOCM-00010071_T
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 15   Registration date prior to July 1, 2002         05/26/1997

 16  Name of the authority which registered the Registration Chamber of the Administration of
     legal entity prior to July 1, 2002         Saint Petersburg
 17 SRN and the date of entry into the          1037843002515
     USROLE that contains indicated information 01/08/2003
    Information About the Registration Authority at the Location of the Legal Entity
 18 Name of the registration authority           Inter-district Inspectorate of the Federal
                                                Tax Service #15 of Saint Petersburg

 19   Address of the registration authority           10-12 Letter O Krasnyy Tekstilshchik Street,
                                                      Saint Petersburg, 191124
 20   SRN and the date of entry into the              04/01/2005
      USROLE that contains indicated information
                           Information on Registration at the Tax Authority
 21   TIN                                          7825100880
 22   RRC                                          784101001
 23   Date of registration                         11/28/2005
 24   Name of the tax authority                     Inter-district Inspectorate of the Federal
                                                   Tax Service #10 for Saint Petersburg
 25   SRN and the date of entry into the            2057813030361
      USROLE that contains indicated information    11/28/2005
        Information on Registration as an Insurer at the Regional Office of the Pension
                                 Fund of the Russian Federation
 26 Registration number                             088027037673
 27 Date of registration                            06/05/1997
 28 Name of the Regional Office of the Pension      Government agency the RF Pension fund
      Fund                                          Directorate of the Central District of Saint
                                                    Petersburg
 29 SRN and the date of entry into the              6067847397337
      USROLE that contains indicated information    05/26/2006
   Information about registration as an Insurer at the Executive Authority of the Social
                     Insurance fund of the Russian Federation
 30 Registration number                             782700154978041
 31 Date of registration                            03/22/2001
 32 Name of the Executive Authority of the Social Branch # 4 of Saint Petersburg Regional
      Insurance fund                                Office of the RF Social insurance fund

 33   SRN and the date of entry into the            8167847046029
      USROLE that contains indicated information    06/25/2016
Information on the Authorized Capital (capital stock, charter fund, share contributions)
 34 Type of Capital                                 AUTHORIZED CAPITAL
 35 Amount (in rubles)                              500,000


                                                2
                                                                              SCOCM-00010072_T
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 36  SRN and the date of entry into the              7117847655985
     USROLE that contains indicated information      08/17/2011
Information about a Person Authorized to Act on Behalf of the Legal Entity without a Letter of
                                              Attorney
 37 SRN and the date of entry into the USROLE        9177847665811
     information about this person                   11/14/2017

 38   Last name                                    UTKIN
 39   First name                                   DMITRIY
 40   Patronymic                                   VALERYEVICH
 41   TIN
 42   SRN and the date of entry into the           9177847665811
      USROLE that contains indicated information   11/14/2017
 43   Position                                     DIRECTOR GENERAL
 44   SRN and the date of entry into the           9177847665811
      USROLE that contains indicated information   11/14/2017
                Information on the Founders (participants) of the Legal Entity
 45   SRN and the date of entry into the USROLE    2177847844645
      information about this person                02/28/2017

 46   Last name                                    PRIGOZHIN
 47   First name                                   YEVGENIY
 48   Patronymic                                   VIKTOROVICH
 49   TIN
 50   SRN and the date of entry into the           2177847844645
      USROLE that contains indicated information   02/28/2017
 51   Par value of a share (rubles)                500,000

 52   Ownership Interest (percent)                 100

 53   SRN and the date of entry into the           2177847844645
      USROLE that contains indicated information   02/28/2017


…….




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                                                                          SCOCM-00010073_T
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              EXHIBIT A-2
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Jun 25, 2018           16:37 GMT-4
                               T                                                                             




NEWS

Nov. 15 2017 - 11:11




Russian Mercenary Leader Now Behind Troll Farm Mastermind’s Catering Business




Dmitry
    r Utkin / Screenshot 1st Channel




The leader of an infamous Russian private military company is now reportedly the general director of a catering business owned by the
mastermind behind the Kremlin’s troll farm.


Dmitry Utkin, a military intelligence reserve commander, leads the Wagner mercenary group, which is believed to have played key roles
in the Ukrainian and Syrian conÓicts.aa
                  Case 1:18-cr-00032-DLF Document 40-1 Filed 06/26/18 Page 42 of 78
Businessman Dmitry Prigozhin is an investor in Wagner and the alleged head of the St. Petersburg-based Òrm known as the Kremlin's
“troll factory.” He also owns the Òrms Concord Management and Consulting and Concord Catering — both under U.S. sanctions.


Prigozhin has recently denied ties to the troll factory, the Internet Research Agency.


After the name “Dmitry Valeryevich Utkin" appeared in a corporate database as the general director of Concord Management and
Consulting, a source close to Prigozhin told the RBC business outlet RBC on Wednesday that it is the head of the military contractor.


The U.S. Treasury added Concord Management and Consulting and Concord Catering to its list of sanctioned companies in June after
identifying Prigozhin as the “owner or controller” of both entities. The U.S. placed Prigozhin on its sanctions list in 2016.


U.S authorities suspect the business of being behind hundreds of fake Facebook and Twitter accounts that reached tens of millions of
Americans during the 2016 election campaign that saw Donald Trump win the presidency.
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              EXHIBIT A-3
(Original Russian Document & Partial
    English Translation Enclosed)
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       (Original Russian Document)
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                   ЕДИНЫЙ ГОСУДАРСТВЕННЫЙ РЕЕСТР ЮРИДИЧЕСКИХ ЛИЦ

                                 Сведения о юридическом лице

  ОБЩЕСТВО С ОГРАНИЧЕННОЙ ОТВЕТСТВЕННОСТЬЮ "КОНКОРД МЕНЕДЖМЕНТ И
                            КОНСАЛТИНГ"

ОГРН 1037843002515
ИНН/КПП 7825100880/784101001
по состоянию на 09.05.2018

№ п/п             Наименование показателя                     Значение показателя
 1                             2                                       3
                                          Наименование
   1     Полное наименование                       ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                   ОТВЕТСТВЕННОСТЬЮ "КОНКОРД
                                                   МЕНЕДЖМЕНТ И КОНСАЛТИНГ"
   2     Сокращенное наименование                  ООО "КОНКОРД МЕНЕДЖМЕНТ И
                                                   КОНСАЛТИНГ"
   3     ГРН и дата внесения в ЕГРЮЛ записи,       1037843002515
         содержащей указанные сведения             08.01.2003
                                  Адрес (место нахождения)
   4     Почтовый индекс                           191011
   5     Субъект Российской Федерации              ГОРОД САНКТ-ПЕТЕРБУРГ
   6     Улица (проспект, переулок и т.д.)         НАБЕРЕЖНАЯ РЕКИ ФОНТАНКИ
   7     Дом (владение и т.п.)                     ДОМ 13
   8     Корпус (строение и т.п.)                  ЛИТЕР А
   9     Офис (квартира и т.п.)                    ПОМЕЩЕНИЕ 2-Н №4
  10     ГРН и дата внесения в ЕГРЮЛ записи,       8167847535881
         содержащей указанные сведения             27.06.2016
                                   Сведения о регистрации
  11     Способ образования                        Создание юридического лица до 01.07.2002
  12     ОГРН                                      1037843002515
  13     Дата присвоения ОГРН                      08.01.2003
  14     Регистрационный номер, присвоенный до 1 48492
         июля 2002 года
  15     Дата регистрации до 1 июля 2002 года      26.05.1997
  16     Наименование органа,                      Регистрационная палата Администрации
         зарегистрировавшего юридическое лицо до Санкт-Петербурга
         1 июля 2002 года
  17     ГРН и дата внесения в ЕГРЮЛ записи,       1037843002515
         содержащей указанные сведения             08.01.2003
         Сведения о регистрирующем органе по месту нахождения юридического лица
  18     Наименование регистрирующего органа       Межрайонная инспекция Федеральной
                                                   налоговой службы №15 по Санкт-
                                                   Петербургу
  19     Адрес регистрирующего органа              ,191124, Санкт-Петербург г,,,, Красного
                                                   Текстильщика ул, д 10-12 лит.О,,
  20     ГРН и дата внесения в ЕГРЮЛ записи,       01.04.2005
         содержащей указанные сведения
Сведения с сайта ФНС России
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                         Сведения об учете в налоговом органе
  21 ИНН                                       7825100880
  22 КПП                                       784101001
  23 Дата постановки на учет                   28.11.2005
  24 Наименование налогового органа            Межрайонная инспекция Федеральной
                                               налоговой службы №10 по Санкт-
                                               Петербургу
  25 ГРН и дата внесения в ЕГРЮЛ записи,       2057813030361
      содержащей указанные сведения            28.11.2005
      Сведения о регистрации в качестве страхователя в территориальном органе
                       Пенсионного фонда Российской Федерации
  26 Регистрационный номер                     088027037673
  27 Дата регистрации                          05.06.1997
  28 Наименование территориального органа      Государственное Учреждение Управление
      Пенсионного фонда                        Пенсионного фонда РФ по Центральному
                                               району Санкт-Петербурга
  29 ГРН и дата внесения в ЕГРЮЛ записи,       6067847397337
      содержащей указанные сведения            26.05.2006
    Сведения о регистрации в качестве страхователя в исполнительном органе Фонда
                   социального страхования Российской Федерации
  30 Регистрационный номер                     782700154978041
  31 Дата регистрации                          22.03.2001
  32 Наименование исполнительного органа       Филиал №4 Санкт-Петербургского
      Фонда социального страхования            регионального отделения Фонда
                                               социального страхования Российской
                                               Федерации
  33 ГРН и дата внесения в ЕГРЮЛ записи,       8167847046029
      содержащей указанные сведения            25.06.2016
 Сведения об уставном капитале (складочном капитале, уставном фонде, паевых взносах)
  34 Вид                                       УСТАВНЫЙ КАПИТАЛ
  35 Размер (в рублях)                         500000
  36 ГРН и дата внесения в ЕГРЮЛ записи,       7117847655985
      содержащей указанные сведения            17.08.2011
 Сведения о лице, имеющем право без доверенности действовать от имени юридического
                                         лица
  37 ГРН и дата внесения в ЕГРЮЛ сведений о 2187847868151
      данном лице                              01.03.2018

  38     Фамилия                                 ПРИГОЖИН
  39     Имя                                     ЕВГЕНИЙ
  40     Отчество                                ВИКТОРОВИЧ
  41     ИНН
  42     ГРН и дата внесения в ЕГРЮЛ записи,     2187847868151
         содержащей указанные сведения           01.03.2018
  43     Должность                               ГЕНЕРАЛЬНЫЙ ДИРЕКТОР
  44     ГРН и дата внесения в ЕГРЮЛ записи,     2187847868151
         содержащей указанные сведения           01.03.2018
                  Сведения об учредителях (участниках) юридического лица
  45     ГРН и дата внесения в ЕГРЮЛ сведений о 2177847844645
         данном лице                             28.02.2017

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  46     Фамилия                                    ПРИГОЖИН
  47     Имя                                        ЕВГЕНИЙ
  48     Отчество                                   ВИКТОРОВИЧ
  49     ИНН
  50     ГРН и дата внесения в ЕГРЮЛ записи,        2177847844645
         содержащей указанные сведения              28.02.2017

  51  Номинальная стоимость доли (в рублях)    500000
  52  Размер доли (в процентах)                100
  53  ГРН и дата внесения в ЕГРЮЛ записи,      2177847844645
      содержащей указанные сведения            28.02.2017
  Сведения о видах экономической деятельности по Общероссийскому классификатору
                           видов экономической деятельности
                            (ОКВЭД ОК 029-2014 КДЕС. Ред. 2)
                        Сведения об основном виде деятельности
  54 Код и наименование вида деятельности      56.10 Деятельность ресторанов и услуги по
                                               доставке продуктов питания
  55 ГРН и дата внесения в ЕГРЮЛ записи,       7147847226333
      содержащей указанные сведения            17.06.2014
                     Сведения о дополнительных видах деятельности
                                            1
  56 Код и наименование вида деятельности      56.10.1 Деятельность ресторанов и кафе с
                                               полным ресторанным обслуживанием,
                                               кафетериев, ресторанов быстрого питания и
                                               самообслуживания
  57 ГРН и дата внесения в ЕГРЮЛ записи,       7147847226333
      содержащей указанные сведения            17.06.2014
                                            2
  58 Код и наименование вида деятельности      56.10.3 Деятельность ресторанов и баров по
                                               обеспечению питанием в железнодорожных
                                               вагонахресторанах и на судах
  59 ГРН и дата внесения в ЕГРЮЛ записи,       7147847226333
      содержащей указанные сведения            17.06.2014
                                            3
  60 Код и наименование вида деятельности      56.29 Деятельность предприятий
                                               общественного питания по прочим видам
                                               организации питания
  61 ГРН и дата внесения в ЕГРЮЛ записи,       7127847387287
      содержащей указанные сведения            14.06.2012
                                            4
  62 Код и наименование вида деятельности      68.20.2 Аренда и управление собственным
                                               или арендованным нежилым недвижимым
                                               имуществом
  63 ГРН и дата внесения в ЕГРЮЛ записи,       6177847818780
      содержащей указанные сведения            27.04.2017
                                            5
  64 Код и наименование вида деятельности      77.11 Аренда и лизинг легковых
                                               автомобилей и легких автотранспортных
                                               средств


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  65     ГРН и дата внесения в ЕГРЮЛ записи,        6177847818780
         содержащей указанные сведения              27.04.2017
                                                6
  66     Код и наименование вида деятельности       77.34 Аренда и лизинг водных
                                                    транспортных средств и оборудования
  67     ГРН и дата внесения в ЕГРЮЛ записи,        6177847818780
         содержащей указанные сведения              27.04.2017
                                                7
  68     Код и наименование вида деятельности    77.39.25 Аренда и лизинг контрольно-
                                                 измерительной аппаратуры
  69     ГРН и дата внесения в ЕГРЮЛ записи,     6177847818780
         содержащей указанные сведения           27.04.2017
                                    Сведения о лицензиях
                                             1
  70     Номер лицензии                          ВП-19-003667
  71     Дата лицензии                           20.11.2012
  72     Дата начала действия лицензии           20.11.2012
  73     Вид лицензируемой деятельности, на      Эксплуатация взрывопожароопасных и
         который выдана лицензия                 химически опасных производственных
                                                 объектов I, II и III классов опасности
  74     Место действия лицензии                 199034, САНКТ-ПЕТЕРБУРГ,
                                                 УНИВЕРСИТЕТСКАЯ НАБ, Д.1/3, ЛИТ.А,
                                                 ПОМ.1-Н
  75     Место действия лицензии                 197198, САНКТ-ПЕТЕРБУРГ, БОЛЬШОЙ
                                                 ПРОСПЕКС П.С., Д. 7/4, ЛИТ. Б, ПОМ. 1-
                                                 Н
  76     Наименование лицензирующего органа,     Северо-Западное управление Федеральной
         выдавшего или переоформившего           службы по экологическому,
         лицензию                                технологическому и атомному надзору
  77     ГРН и дата внесения в ЕГРЮЛ записи,     6137847627714
         содержащей указанные сведения           21.05.2013
                                             2
  78     Номер лицензии                          МР-2 001466
  79     Дата лицензии                           15.09.2014
  80     Дата начала действия лицензии           15.09.2014
  81     Вид лицензируемой деятельности, на      Деятельность по перевозкам внутренним
         который выдана лицензия                 водным транспортом, морским
                                                 транспортом пассажиров
  82     Место действия лицензии                 Суда,указанные в приложении к настоящей
                                                 лицензии в районах
                                                 плавания,установленных судовыми
                                                 документами
  83     Наименование лицензирующего органа,     СЕВЕРО-ЗАПАДНОЕ УПРАВЛЕНИЕ
         выдавшего или переоформившего           ГОСУДАРСТВЕННОГО МОРСКОГО И
         лицензию                                РЕЧНОГО НАДЗОРА ФЕДЕРАЛЬНОЙ
                                                 СЛУЖБЫ ПО НАДЗОРУ В СФЕРЕ
                                                 ТРАНСПОРТА
  84     ГРН и дата внесения в ЕГРЮЛ записи,     8167847967752
         содержащей указанные сведения           19.07.2016
                                             3
  85     Номер лицензии                          0007147


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  86     Дата лицензии                              30.12.2015
  87     Дата начала действия лицензии              30.12.2015
  88     Вид лицензируемой деятельности, на         Розничная продажа алкогольной
         который выдана лицензия                    продукции, лицензируемая субъектами
                                                    Российской Федерации или органами
                                                    местного самоуправления в соответствии с
                                                    предоставленными законом полномочиями
  89     Наименование лицензирующего органа,        Комитет по развитию предпринимательства
         выдавшего или переоформившего              и потребительского рынка Санкт-
         лицензию                                   Петербурга
  90     ГРН и дата внесения в ЕГРЮЛ записи,        9167847057215
         содержащей указанные сведения              28.07.2016
                                               4
  91     Номер лицензии                             ВХ-19 005166 Переоформ
  92     Дата лицензии                              28.09.2016
  93     Дата начала действия лицензии              28.09.2016
  94     Вид лицензируемой деятельности, на         Эксплуатация взрывопожароопасных и
         который выдана лицензия                    химически опасных производственных
                                                    объектов I, II и III классов опасности
  95     Место действия лицензии                    2) Санкт-Петербург, ул. Новая (Лахта), д.
                                                    51, корп. 82
  96     Место действия лицензии                    1) Санкт-Петербург, Университетская наб.,
                                                    д. 1/3, лит.А, пом. 1-Н
  97     Наименование лицензирующего органа,        Северо-Западное управление Федеральной
         выдавшего или переоформившего              службы по экологическому,
         лицензию                                   технологическому и атомному надзору
  98     ГРН и дата внесения в ЕГРЮЛ записи,        2167848181070
         содержащей указанные сведения              28.09.2016
                                               5
   99    Номер лицензии                             77РПО0012450
  100    Дата лицензии                              22.08.2017
  101    Дата начала действия лицензии              22.08.2017
  102    Дата окончания действия лицензии           22.08.2018
  103    Вид лицензируемой деятельности, на         Розничная продажа алкогольной
         который выдана лицензия                    продукции, лицензируемая субъектами
                                                    Российской Федерации или органами
                                                    местного самоуправления в соответствии с
                                                    предоставленными законом полномочиями
  104 Место действия лицензии                       г.Москва,регистровый № 241822, теплоход
                                                    "Ривер Лаундж" ,нижняя палуба.Бар
  105 Наименование лицензирующего органа,           Департамент торговли и услуг города
      выдавшего или переоформившего                 Москвы
      лицензию
  106 ГРН и дата внесения в ЕГРЮЛ записи,           8177847395003
      содержащей указанные сведения                 21.08.2017
                                               6
  107    Номер лицензии                             78АА 78РПО0001233
  108    Дата лицензии                              11.01.2018
  109    Дата начала действия лицензии              11.01.2018
  110    Дата окончания действия лицензии           11.01.2019


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  111 Вид лицензируемой деятельности, на         Розничная продажа алкогольной
      который выдана лицензия                    продукции, лицензируемая субъектами
                                                 Российской Федерации или органами
                                                 местного самоуправления в соответствии с
                                                 предоставленными законом полномочиями
  112    Наименование лицензирующего органа,     Комитет по развитию предпринимательства
         выдавшего или переоформившего           и потребительского рынка Санкт-
         лицензию                                Петербурга
  113    ГРН и дата внесения в ЕГРЮЛ записи,     2187847218370
         содержащей указанные сведения           17.01.2018
                              Сведения о правопредшественнике
                                              1
  114    ОГРН                                    1037804069621
  115    ИНН                                     7802220684
  116    Полное наименование                     ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                 ОТВЕТСТВЕННОСТЬЮ
                                                 "ИНВЕСТОТЕЛЬ"
  117    ГРН и дата внесения в ЕГРЮЛ записи,     2067847484076
         содержащей указанные сведения           09.03.2006
                                              2
  118    ОГРН                                    1037835071361
  119    ИНН                                     7816228468
  120    Полное наименование                     ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                 ОТВЕТСТВЕННОСТЬЮ "ВИЗИТ"
  121    ГРН и дата внесения в ЕГРЮЛ записи,     2067847485605
         содержащей указанные сведения           09.03.2006
                                              3
  122    ОГРН                                    1037804065936
  123    ИНН                                     7802219086
  124    Полное наименование                     ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                 ОТВЕТСТВЕННОСТЬЮ "ИНВЕСТКОМ"
  125    ГРН и дата внесения в ЕГРЮЛ записи,     2067847486485
         содержащей указанные сведения           10.03.2006
                                              4
  126    ОГРН                                    1027809174843
  127    ИНН                                     7825482478
  128    Полное наименование                     ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                 ОТВЕТСТВЕННОСТЬЮ "КОНКОРД-
                                                 ИНВЕСТ"
  129    ГРН и дата внесения в ЕГРЮЛ записи,     2067847491787
         содержащей указанные сведения           10.03.2006
                                              5
  130    ОГРН                                    1027801532164
  131    ИНН                                     7804159065
  132    Полное наименование                     ОБЩЕСТВО С ОГРАНИЧЕННОЙ
                                                 ОТВЕТСТВЕННОСТЬЮ "ПРЕСС-КАФЕ"
  133    ГРН и дата внесения в ЕГРЮЛ записи,     2067847486441
         содержащей указанные сведения           10.03.2006




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   Сведения о записях, внесенных в Единый государственный реестр юридических лиц
                                         1
  134 ГРН и дата внесения записи в ЕГРЮЛ      1037843002515
                                              08.01.2003
  135 Причина внесения записи в ЕГРЮЛ         Внесение в Единый государственный
                                              реестр юридических лиц сведений о
                                              юридическом лице, зарегистрированном до
                                              1 июля 2002 года
  136 Наименование регистрирующего органа,    Инспекция Министерства Российской
      которым запись внесена в ЕГРЮЛ          Федерации по налогам и сборам по
                                              Центральному району Санкт-Петербурга

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  137 Серия, номер и дата выдачи свидетельства 78 004022439
                                               08.01.2003

      Сведения о статусе записи
  138 Статус записи                                В запись внесены исправления в связи с
                                                   технической ошибкой, допущенной
                                                   регистрирующим органом
  139 ГРН и дата записи, которой внесены           2057812816961
      исправления в связи с технической            09.11.2005
      ошибкой

  140 Статус записи                                В запись внесены исправления в связи с
                                                   технической ошибкой, допущенной
                                                   регистрирующим органом
  141 ГРН и дата записи, которой внесены           2057813014818
      исправления в связи с технической            28.11.2005
      ошибкой
                                              2
  142 ГРН и дата внесения записи в ЕГРЮЛ           2037869011211
                                                   29.10.2003
  143 Причина внесения записи в ЕГРЮЛ              Государственная регистрация изменений,
                                                   внесенных в учредительные документы
                                                   юридического лица, связанных с внесением
                                                   изменений в сведения о юридическом лице,
                                                   содержащиеся в Едином государственном
                                                   реестре юридических лиц, на основании
                                                   заявления
  144 Наименование регистрирующего органа,         Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ               Российской Федерации по налогам и
                                                   сборам №11 по Санкт-Петербургу

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  145 Серия, номер и дата выдачи свидетельства 78 004629940
                                               29.10.2003
                                            3
  146 ГРН и дата внесения записи в ЕГРЮЛ       12.07.2004

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  147 Причина внесения записи в ЕГРЮЛ              Представление сведений об учете
                                                   юридического лица в налоговом органе
  148 Наименование регистрирующего органа,         Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ               Российской Федерации по налогам и
                                                   сборам №11 по Санкт-Петербургу
                                              4
  149 ГРН и дата внесения записи в ЕГРЮЛ           2047844022411
                                                   12.07.2004
  150 Причина внесения записи в ЕГРЮЛ              Реорганизация юридического лица в форме
                                                   выделения из него другого юридического
                                                   лица
  151 Наименование регистрирующего органа,         Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ               Российской Федерации по налогам и
                                                   сборам №11 по Санкт-Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  152 Наименование документа                       Р12001 Заявление о создании ЮЛ при
                                                   выделении

  153 Наименование документа                       Устав ЮЛ

  154 Наименование документа                       Решение о реорганизации ЮЛ

  155 Наименование документа                       Разделительный баланс

  156 Наименование документа                       Документ об оплате государственной
                                                   пошлины

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  157 Серия, номер и дата выдачи свидетельства 78 005159025
                                               12.07.2004
                                            5
  158 ГРН и дата внесения записи в ЕГРЮЛ       2047841029454
                                               29.09.2004
  159 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  160 Наименование регистрирующего органа,     Межрайонная инспекция Министерства
      которым запись внесена в ЕГРЮЛ           Российской Федерации по налогам и
                                               сборам №10 по Санкт-Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  161 Наименование документа                       Р14001 ЗАЯВЛЕНИЕ ОБ ИЗМЕНЕНИИ
                                                   СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                   УЧРЕДИТЕЛЬНЫМИ ДОКУМЕНТАМИ
  162 Номер документа                              1
  163 Дата документа                               23.09.2004

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      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  164 Серия, номер и дата выдачи свидетельства 78 005440241
                                               29.09.2004
                                            6
  165 ГРН и дата внесения записи в ЕГРЮЛ       2057810787571
                                               10.06.2005
  166 Причина внесения записи в ЕГРЮЛ          Представление сведений об учете
                                               юридического лица в налоговом органе
  167 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о статусе записи
  168 Статус записи                                В запись внесены исправления в связи с
                                                   технической ошибкой, допущенной
                                                   регистрирующим органом
  169 ГРН и дата записи, которой внесены           2057812816565
      исправления в связи с технической            09.11.2005
      ошибкой
                                              7
  170 ГРН и дата внесения записи в ЕГРЮЛ           2057810787582
                                                   10.06.2005
  171 Причина внесения записи в ЕГРЮЛ              Представление сведений об учете
                                                   юридического лица в налоговом органе
  172 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о статусе записи
  173 Статус записи                                В запись внесены исправления в связи с
                                                   технической ошибкой, допущенной
                                                   регистрирующим органом
  174 ГРН и дата записи, которой внесены           2057812816587
      исправления в связи с технической            09.11.2005
      ошибкой
                                              8
  175 ГРН и дата внесения записи в ЕГРЮЛ           2057812816565
                                                   09.11.2005
  176 Причина внесения записи в ЕГРЮЛ              Внесение изменений в сведения о
                                                   юридическом лице, содержащиеся в
                                                   Едином государственном реестре
                                                   юридических лиц, в связи ошибками,
                                                   допущенными регистрирующим органом
  177 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
  178 ГРН и дата записи, в которую внесены         2057810787571
      исправления                                  10.06.2005



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  179 ГРН и дата внесения записи в ЕГРЮЛ           2057812816587
                                                   09.11.2005
  180 Причина внесения записи в ЕГРЮЛ              Внесение изменений в сведения о
                                                   юридическом лице, содержащиеся в
                                                   Едином государственном реестре
                                                   юридических лиц, в связи ошибками,
                                                   допущенными регистрирующим органом
  181 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
  182 ГРН и дата записи, в которую внесены         2057810787582
      исправления                                  10.06.2005
                                             10
  183 ГРН и дата внесения записи в ЕГРЮЛ           2057812816961
                                                   09.11.2005
  184 Причина внесения записи в ЕГРЮЛ              Внесение изменений в сведения о
                                                   юридическом лице, содержащиеся в
                                                   Едином государственном реестре
                                                   юридических лиц, в связи с ошибками,
                                                   допущенными заявителем в ранее
                                                   представленном заявлении
  185 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

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      при внесении записи в ЕГРЮЛ
  186 Наименование документа                       Р14001 ЗАЯВЛЕНИЕ ОБ ИСПРАВЛЕНИИ
                                                   ОШИБОК, ДОПУЩ.ЗАЯВИТ.В
                                                   ДР.ДОКУМ.О РЕГИСТРАЦИИ
  187 Дата документа                               07.11.2005

  188 Наименование документа                       ДОВЕРЕННОСТЬ
  189 Номер документа                              7
  190 Дата документа                               01.11.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  191 Серия, номер и дата выдачи свидетельства 78 005630434
                                               09.11.2005
  192 ГРН и дата записи, в которую внесены     1037843002515
      исправления                              08.01.2003
                                           11
  193 ГРН и дата внесения записи в ЕГРЮЛ       2057813014818
                                               28.11.2005
  194 Причина внесения записи в ЕГРЮЛ          Внесение изменений в сведения о
                                               юридическом лице, содержащиеся в
                                               Едином государственном реестре
                                               юридических лиц, в связи с ошибками,
                                               допущенными заявителем в ранее
                                               представленном заявлении

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  195 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  196 Наименование документа                       Р14001 ЗАЯВЛЕНИЕ ОБ ИСПРАВЛЕНИИ
                                                   ОШИБОК, ДОПУЩ.ЗАЯВИТ.В
                                                   ДР.ДОКУМ.О РЕГИСТРАЦИИ
  197 Дата документа                               24.11.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  198 Серия, номер и дата выдачи свидетельства 78 005642243
                                               28.11.2005
  199 ГРН и дата записи, в которую внесены     1037843002515
      исправления                              08.01.2003
                                           12
  200 ГРН и дата внесения записи в ЕГРЮЛ       2057813014862
                                               28.11.2005
  201 Причина внесения записи в ЕГРЮЛ          Представление сведений об учете
                                               юридического лица в налоговом органе
  202 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           13
  203 ГРН и дата внесения записи в ЕГРЮЛ       2057813030350
                                               28.11.2005
  204 Причина внесения записи в ЕГРЮЛ          Представление сведений об учете
                                               юридического лица в налоговом органе
  205 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           14
  206 ГРН и дата внесения записи в ЕГРЮЛ       2057813030361
                                               28.11.2005
  207 Причина внесения записи в ЕГРЮЛ          Представление сведений об учете
                                               юридического лица в налоговом органе
  208 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           15
  209 ГРН и дата внесения записи в ЕГРЮЛ       2057813025312
                                               29.11.2005
  210 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  211 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу


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      при внесении записи в ЕГРЮЛ
  212 Наименование документа                       P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                   НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  213 Дата документа                               24.11.2005

  214 Наименование документа                       ДОВЕРЕННОСТЬ
  215 Дата документа                               22.11.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  216 Серия, номер и дата выдачи свидетельства 78 005642249
                                               29.11.2005
                                           16
  217 ГРН и дата внесения записи в ЕГРЮЛ       2057813177739
                                               15.12.2005
  218 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  219 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  220 Наименование документа                       P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                   НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  221 Дата документа                               13.12.2005

  222 Наименование документа                       ДОВЕРЕННОСТЬ
  223 Дата документа                               12.12.2005

  224 Наименование документа                       РЕШЕНИЕ
  225 Номер документа                              12
  226 Дата документа                               12.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  227 Серия, номер и дата выдачи свидетельства 78 005652111
                                               15.12.2005
                                           17
  228 ГРН и дата внесения записи в ЕГРЮЛ       2067847484076
                                               09.03.2006
  229 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица


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  230 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  231 Наименование документа                       P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                   ДЕЯТЕЛЬНОСТИ ПРИ
                                                   ПРИСОЕДИНЕНИИ
  232 Дата документа                               06.03.2006

  233 Наименование документа                       РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                   ЮРИДИЧЕСКОГО ЛИЦА
  234 Дата документа                               24.01.2005

  235 Наименование документа                       ДОГОВОР О ПРИСОЕДИНЕНИИ
  236 Дата документа                               12.12.2005

  237 Наименование документа                       ПЕРЕДАТОЧНЫЙ АКТ
  238 Дата документа                               24.01.2005

  239 Наименование документа                       ПУБЛИКАЦИЯ (КОПИЯ)
  240 Дата документа                               21.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  241 Серия, номер и дата выдачи свидетельства 78 005859127
                                               09.03.2006
                                           18
  242 ГРН и дата внесения записи в ЕГРЮЛ       2067847485605
                                               09.03.2006
  243 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица
  244 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  245 Наименование документа                       P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                   ДЕЯТЕЛЬНОСТИ ПРИ
                                                   ПРИСОЕДИНЕНИИ

  246 Наименование документа                       РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                   ЮРИДИЧЕСКОГО ЛИЦА
  247 Дата документа                               12.12.2005

  248 Наименование документа                       ДОГОВОР О ПРИСОЕДИНЕНИИ

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  249 Дата документа                               12.12.2005

  250 Наименование документа                       ПЕРЕДАТОЧНЫЙ АКТ
  251 Дата документа                               12.12.2005

  252 Наименование документа                       ПУБЛИКАЦИЯ (КОПИЯ)
  253 Дата документа                               12.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  254 Серия, номер и дата выдачи свидетельства 78 005859552
                                               09.03.2006
                                           19
  255 ГРН и дата внесения записи в ЕГРЮЛ       2067847486441
                                               10.03.2006
  256 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица
  257 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  258 Наименование документа                       P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                   ДЕЯТЕЛЬНОСТИ ПРИ
                                                   ПРИСОЕДИНЕНИИ
  259 Дата документа                               06.03.2006

  260 Наименование документа                       РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                   ЮРИДИЧЕСКОГО ЛИЦА
  261 Номер документа                              6
  262 Дата документа                               24.01.2006

  263 Наименование документа                       ДОГОВОР О ПРИСОЕДИНЕНИИ
  264 Дата документа                               12.12.2005

  265 Наименование документа                       ПЕРЕДАТОЧНЫЙ АКТ
  266 Дата документа                               24.01.2006

  267 Наименование документа                       ПУБЛИКАЦИЯ (КОПИЯ), РЕШЕНИЕ №5
  268 Дата документа                               21.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  269 Серия, номер и дата выдачи свидетельства 78 005859675
                                               10.03.2006

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  270 ГРН и дата внесения записи в ЕГРЮЛ           2067847486485
                                                   10.03.2006
  271 Причина внесения записи в ЕГРЮЛ              Реорганизация юридического лица в форме
                                                   присоединения к нему другого
                                                   юридического лица
  272 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  273 Наименование документа                       P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                   ДЕЯТЕЛЬНОСТИ ПРИ
                                                   ПРИСОЕДИНЕНИИ
  274 Дата документа                               06.03.2006

  275 Наименование документа                       РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                   ЮРИДИЧЕСКОГО ЛИЦА
  276 Номер документа                              5
  277 Дата документа                               24.01.2006

  278 Наименование документа                       ДОГОВОР О ПРИСОЕДИНЕНИИ
  279 Дата документа                               12.12.2005

  280 Наименование документа                       ПЕРЕДАТОЧНЫЙ АКТ
  281 Дата документа                               24.01.2006

  282 Наименование документа                       ПУБЛИКАЦИЯ (КОПИЯ)
  283 Дата документа                               21.12.2005

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  284 Серия, номер и дата выдачи свидетельства 78 005859677
                                               10.03.2006
                                           21
  285 ГРН и дата внесения записи в ЕГРЮЛ       2067847491787
                                               10.03.2006
  286 Причина внесения записи в ЕГРЮЛ          Реорганизация юридического лица в форме
                                               присоединения к нему другого
                                               юридического лица
  287 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  288 Наименование документа                       P16003 ЗАЯВЛЕНИЕ О ПРЕКРАЩЕНИИ
                                                   ДЕЯТЕЛЬНОСТИ ПРИ
                                                   ПРИСОЕДИНЕНИИ
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  289 Дата документа                               06.03.2006

  290 Наименование документа                       РЕШЕНИЕ О РЕОРГАНИЗАЦИИ
                                                   ЮРИДИЧЕСКОГО ЛИЦА
  291 Дата документа                               12.12.2005

  292 Наименование документа                       ДОГОВОР О ПРИСОЕДИНЕНИИ
  293 Дата документа                               12.12.2005

  294 Наименование документа                       ПЕРЕДАТОЧНЫЙ АКТ
  295 Дата документа                               12.12.2005

  296 Наименование документа                       ПУБЛИКАЦИЯ (КОПИЯ)

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  297 Серия, номер и дата выдачи свидетельства 78 005859857
                                               10.03.2006
                                           22
  298 ГРН и дата внесения записи в ЕГРЮЛ       2067847734601
                                               30.03.2006
  299 Причина внесения записи в ЕГРЮЛ          Государственная регистрация изменений,
                                               внесенных в учредительные документы
                                               юридического лица, связанных с внесением
                                               изменений в сведения о юридическом лице,
                                               содержащиеся в Едином государственном
                                               реестре юридических лиц, на основании
                                               заявления
  300 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  301 Наименование документа                       P13001 ЗАЯВЛЕНИЕ ОБ
                                                   ИЗМ.СВЕДЕНИЙ, ВНОСИМЫХ В
                                                   УЧРЕД.ДОКУМ.
  302 Дата документа                               28.03.2006

  303 Наименование документа                       УСТАВ ЮРИДИЧЕСКОГО ЛИЦА

  304 Наименование документа                       РЕШЕНИЕ О ВНЕСЕНИИ ИЗМЕНЕНИЙ
                                                   В УЧРЕДИТЕЛЬНЫЕ ДОКУМЕНТЫ

  305 Наименование документа                       ВСП 1991/0233
  306 Номер документа                              1949155
  307 Дата документа                               27.03.2006



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  308 Наименование документа                       ПЕРЕДАТОЧНЫЙ АКТ, РЕШЕНИЕ № 12,
                                                   ДОГОВОР О ПРИСОЕДИНЕНИИ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  309 Серия, номер и дата выдачи свидетельства 78 005849193
                                               30.03.2006
                                           23
  310 ГРН и дата внесения записи в ЕГРЮЛ       2067847734667
                                               30.03.2006
  311 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  312 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  313 Наименование документа                       P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                   НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  314 Дата документа                               28.03.2006

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  315 Серия, номер и дата выдачи свидетельства 78 005849194
                                               30.03.2006
                                           24
  316 ГРН и дата внесения записи в ЕГРЮЛ       6067847397337
                                               26.05.2006
  317 Причина внесения записи в ЕГРЮЛ          Представление сведений о регистрации
                                               юридического лица в качестве страхователя
                                               в территориальном органе Пенсионного
                                               фонда Российской Федерации
  318 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           25
  319 ГРН и дата внесения записи в ЕГРЮЛ       2079847013475
                                               10.01.2007
  320 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  321 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу




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      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  322 Наименование документа                       P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                   НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  323 Дата документа                               26.12.2006

  324 Наименование документа                       РЕШЕНИЕ ОБЩЕГО СОБРАНИЯ
  325 Номер документа                              15
  326 Дата документа                               13.12.2006

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  327 Серия, номер и дата выдачи свидетельства 78 006064754
                                               10.01.2007
                                           26
  328 ГРН и дата внесения записи в ЕГРЮЛ       6077847570707
                                               07.05.2007
  329 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о переоформлении документов,
                                               подтверждающих наличие лицензии
                                               (сведений о продлении срока действия
                                               лицензии)
  330 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           27
  331 ГРН и дата внесения записи в ЕГРЮЛ       8089847566251
                                               31.07.2008
  332 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о предоставлении лицензии
  333 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           28
  334 ГРН и дата внесения записи в ЕГРЮЛ       9089847022135
                                               18.08.2008
  335 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о предоставлении лицензии
  336 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           29
  337 ГРН и дата внесения записи в ЕГРЮЛ       9089847105438
                                               26.08.2008
  338 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о предоставлении лицензии
  339 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу


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                                             30
  340 ГРН и дата внесения записи в ЕГРЮЛ           9089847197596
                                                   01.09.2008
  341 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о предоставлении лицензии
  342 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             31
  343 ГРН и дата внесения записи в ЕГРЮЛ           9089847254257
                                                   05.09.2008
  344 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о предоставлении лицензии
  345 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             32
  346 ГРН и дата внесения записи в ЕГРЮЛ           2089848341120
                                                   05.11.2008
  347 Причина внесения записи в ЕГРЮЛ              Государственная регистрация изменений,
                                                   внесенных в учредительные документы
                                                   юридического лица, связанных с внесением
                                                   изменений в сведения о юридическом лице,
                                                   содержащиеся в Едином государственном
                                                   реестре юридических лиц, на основании
                                                   заявления
  348 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  349 Наименование документа                       P13001 ЗАЯВЛЕНИЕ ОБ
                                                   ИЗМ.СВЕДЕНИЙ, ВНОСИМЫХ В
                                                   УЧРЕД.ДОКУМ.
  350 Дата документа                               31.10.2008

  351 Наименование документа                       ДОКУМЕНТ ОБ УПЛАТЕ
                                                   ГОСУДАРСТВЕННОЙ ПОШЛИНЫ
  352 Номер документа                              031402
  353 Дата документа                               23.10.2008

  354 Наименование документа                       УСТАВ ЮРИДИЧЕСКОГО ЛИЦА

  355 Наименование документа                       РЕШЕНИЕ О ВНЕСЕНИИ ИЗМЕНЕНИЙ
                                                   В УЧРЕДИТЕЛЬНЫЕ ДОКУМЕНТЫ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  356 Серия, номер и дата выдачи свидетельства 78 006975284
                                               05.11.2008

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                                             33
  357 ГРН и дата внесения записи в ЕГРЮЛ           2089848341251
                                                   05.11.2008
  358 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  359 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  360 Наименование документа                       P14001 ЗАЯВЛЕНИЕ О ИЗМ.СВЕДЕНИЙ,
                                                   НЕ СВЯЗАННЫХ С УЧРЕД.ДОКУМ.
  361 Дата документа                               31.10.2008

  362 Наименование документа                       ДОВЕРЕННОСТЬ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  363 Серия, номер и дата выдачи свидетельства 78 006975285
                                               05.11.2008
                                           34
  364 ГРН и дата внесения записи в ЕГРЮЛ       8097847071810
                                               14.07.2009
  365 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о переоформлении документов,
                                               подтверждающих наличие лицензии
                                               (сведений о продлении срока действия
                                               лицензии)
  366 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу
                                           35
  367 ГРН и дата внесения записи в ЕГРЮЛ       9097847079300
                                               01.10.2009
  368 Причина внесения записи в ЕГРЮЛ          Государственная регистрация изменений,
                                               внесенных в устав общества с
                                               ограниченной ответственностью в целях
                                               приведения его в соответствие с
                                               положениями Федерального закона от
                                               30.12.2008 № 312-ФЗ
  369 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  370 Наименование документа                       Р13001 ЗАЯВЛЕНИЕ ОБ ИЗМЕНЕНИЯХ,
                                                   ВНОСИМЫХ В УЧРЕД.ДОКУМЕНТЫ



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  371 Наименование документа                        РЕШЕНИЕ О ВНЕСЕНИИ ИЗМЕНЕНИЙ
                                                    В УЧРЕДИТЕЛЬНЫЕ ДОКУМЕНТЫ

  372 Наименование документа                        УСТАВ ЮЛ

  373 Наименование документа                        ДОКУМЕНТ ОБ ОПЛАТЕ
                                                    ГОСУДАРСТВЕННОЙ ПОШЛИНЫ
  374 Номер документа                               009981
  375 Дата документа                                22.09.2009

  376 Наименование документа                        ДОВЕРЕННОСТЬ

  377 Наименование документа                        ЗАЯВЛЕНИЕ НА ПРЕДОСТАВЛЕНИЕ
                                                    ВЫПИСКИ ИЗ ЕГРЮЛ СВЕДЕНИЯМИ О
                                                    ЮЛ

  378 Наименование документа                        ПЛАТЕЖНЫЙ ДОКУМЕНТ ЗА
                                                    ПРЕДОСТАВЛЕНИЕ СОДЕРЖАЩИХСЯ
                                                    В ГОСУДАРСТВЕННОМ РЕЕСТРЕ
                                                    СВЕДЕНИЙ
  379 Номер документа                               009980
  380 Дата документа                                22.09.2009

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  381 Серия, номер и дата выдачи свидетельства 78 007527453
                                               01.10.2009
                                           36
  382 ГРН и дата внесения записи в ЕГРЮЛ       2117847367911
                                               10.02.2011
  383 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о предоставлении лицензии
  384 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

         Сведения о документах, представленных
         при внесении записи в ЕГРЮЛ
  385    Наименование документа                     СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  386    Номер документа                            00802
  387    Дата документа                             07.02.2011
                                             37
  388    ГРН и дата внесения записи в ЕГРЮЛ         6117847615077
                                                    23.05.2011
  389 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
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  390 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  391 Наименование документа                       СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  392 Номер документа                              20685
  393 Дата документа                               19.05.2011

  394 Наименование документа                       КОНВЕРТ
  395 Номер документа                              20685
  396 Дата документа                               19.05.2011

  397 Наименование документа                       ПИСЬМО
  398 Номер документа                              20685
  399 Дата документа                               19.05.2011

  400 Наименование документа                       ПИСЬМО
  401 Номер документа                              20685
  402 Дата документа                               19.05.2011

  403 Наименование документа                       РЕШЕНИЕ ЛО О ПЕРЕОФОРМЛЕНИИ
                                                   ЛИЦЕНЗИИ
  404 Номер документа                              20685
  405 Дата документа                               19.05.2011
                                             38
  406 ГРН и дата внесения записи в ЕГРЮЛ           7117847655985
                                                   17.08.2011
  407 Причина внесения записи в ЕГРЮЛ              Государственная регистрация изменений,
                                                   внесенных в учредительные документы
                                                   юридического лица, связанных с внесением
                                                   изменений в сведения о юридическом лице,
                                                   содержащиеся в Едином государственном
                                                   реестре юридических лиц, на основании
                                                   заявления
  408 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  409 Наименование документа                       Р13001 ЗАЯВЛЕНИЕ ОБ ИЗМЕНЕНИЯХ,
                                                   ВНОСИМЫХ В УЧРЕД.ДОКУМЕНТЫ

  410 Наименование документа                       ДОКУМЕНТ ОБ ОПЛАТЕ
                                                   ГОСУДАРСТВЕННОЙ ПОШЛИНЫ
  411 Номер документа                              2253
  412 Дата документа                               29.07.2011


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  413 Наименование документа                       РЕШЕНИЕ №32

  414 Наименование документа                       УСТАВ ЮЛ

  415 Наименование документа                       БУХГАЛТЕРСКАЯ ОТЧЕТНОСТЬ ЗА
                                                   2010 Г.

  416 Наименование документа                       ДОВЕРЕННОСТЬ

  417 Наименование документа                       ОПИСЬ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  418 Серия, номер и дата выдачи свидетельства 78 008321715
                                               17.08.2011
                                           39
  419 ГРН и дата внесения записи в ЕГРЮЛ       7117847656007
                                               17.08.2011
  420 Причина внесения записи в ЕГРЮЛ          Изменение сведений о юридическом лице,
                                               содержащихся в Едином государственном
                                               реестре юридических лиц
  421 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  422 Наименование документа                       Р14001 ЗАЯВЛЕНИЕ ОБ
                                                   ИЗМ.СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                   ИЗМ. УЧРЕД.ДОКУМЕНТОВ (П.2.1)

  423 Наименование документа                       ОПИСЬ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  424 Серия, номер и дата выдачи свидетельства 78 008321716
                                               17.08.2011
                                           40
  425 ГРН и дата внесения записи в ЕГРЮЛ       8117847229129
                                               04.10.2011
  426 Причина внесения записи в ЕГРЮЛ          Представление лицензирующим органом
                                               сведений о переоформлении документов,
                                               подтверждающих наличие лицензии
                                               (сведений о продлении срока действия
                                               лицензии)
  427 Наименование регистрирующего органа,     Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ           налоговой службы №15 по Санкт-
                                               Петербургу

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         Сведения о документах, представленных
         при внесении записи в ЕГРЮЛ
  428    Наименование документа                     СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  429    Номер документа                            06674
  430    Дата документа                             03.10.2011
                                             41
  431    ГРН и дата внесения записи в ЕГРЮЛ         9117847567521
                                                    27.12.2011
  432 Причина внесения записи в ЕГРЮЛ               Представление лицензирующим органом
                                                    сведений о переоформлении документов,
                                                    подтверждающих наличие лицензии
                                                    (сведений о продлении срока действия
                                                    лицензии)
  433 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

         Сведения о документах, представленных
         при внесении записи в ЕГРЮЛ
  434    Наименование документа                     СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  435    Номер документа                            08727
  436    Дата документа                             26.12.2011
                                             42
  437    ГРН и дата внесения записи в ЕГРЮЛ         7127847387287
                                                    14.06.2012
  438 Причина внесения записи в ЕГРЮЛ               Изменение сведений о юридическом лице,
                                                    содержащихся в Едином государственном
                                                    реестре юридических лиц
  439 Наименование регистрирующего органа,          Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ                налоговой службы №15 по Санкт-
                                                    Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  440 Наименование документа                        Р14001 ЗАЯВЛЕНИЕ ОБ
                                                    ИЗМ.СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                    ИЗМ. УЧРЕД.ДОКУМЕНТОВ (П.2.1)

  441 Наименование документа                        ДОВЕРЕННОСТЬ

  442 Наименование документа                        ОПИСЬ

      Сведения о свидетельстве,
      подтверждающем факт внесения записи в
      ЕГРЮЛ
  443 Серия, номер и дата выдачи свидетельства 78 008620368
                                               14.06.2012
                                           43
  444 ГРН и дата внесения записи в ЕГРЮЛ       9127847918662
                                               04.12.2012

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  445 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о предоставлении лицензии
  446 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  447 Наименование документа                       СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  448 Номер документа                              45686
  449 Дата документа                               03.12.2012

  450 Наименование документа                       КОНВЕРТ
  451 Номер документа                              45686
  452 Дата документа                               03.12.2012

  453 Наименование документа                       РЕШЕНИЕ О ВЫДАЧЕ ЛИЦЕНЗИИ
  454 Номер документа                              45686
  455 Дата документа                               03.12.2012
                                             44
  456 ГРН и дата внесения записи в ЕГРЮЛ           6137847627714
                                                   21.05.2013
  457 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  458 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  459 Наименование документа                       СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  460 Номер документа                              18636
  461 Дата документа                               20.05.2013

  462 Наименование документа                       КОНВЕРТ
  463 Номер документа                              18636
  464 Дата документа                               20.05.2013

  465 Наименование документа                       РЕШЕНИЕ ЛО О ПЕРЕОФОРМЛЕНИИ
                                                   ЛИЦЕНЗИИ
  466 Номер документа                              18636
  467 Дата документа                               20.05.2013
                                             45
  468 ГРН и дата внесения записи в ЕГРЮЛ           7147847066569
                                                   30.05.2014


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  469 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  470 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  471 Наименование документа                       СОПРОВОДИТЕЛЬНОЕ ПИСЬМО
  472 Номер документа                              20717
  473 Дата документа                               19.05.2014

  474 Наименование документа                       ПЕРЕЧЕНЬ
  475 Номер документа                              20717
  476 Дата документа                               19.05.2014
                                             46
  477 ГРН и дата внесения записи в ЕГРЮЛ           7147847226333
                                                   17.06.2014
  478 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  479 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  480 Наименование документа                       Р14001 ЗАЯВЛЕНИЕ ОБ
                                                   ИЗМ.СВЕДЕНИЙ, НЕ СВЯЗАННЫХ С
                                                   ИЗМ. УЧРЕД.ДОКУМЕНТОВ (П.2.1)

  481 Наименование документа                       ОПИСЬ

  482 Наименование документа                       Доверенность
                                             47
  483 ГРН и дата внесения записи в ЕГРЮЛ           2167847136730
                                                   16.01.2016
  484 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о предоставлении лицензии
  485 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             48
  486 ГРН и дата внесения записи в ЕГРЮЛ           2167847384549
                                                   12.02.2016




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  487 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  488 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             49
  489 ГРН и дата внесения записи в ЕГРЮЛ           2167847414370
                                                   16.02.2016
  490 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  491 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             50
  492 ГРН и дата внесения записи в ЕГРЮЛ           2167847562947
                                                   01.03.2016
  493 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  494 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             51
  495 ГРН и дата внесения записи в ЕГРЮЛ           2167847641773
                                                   09.03.2016
  496 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  497 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             52
  498 ГРН и дата внесения записи в ЕГРЮЛ           6167847599892
                                                   11.05.2016
  499 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  500 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  501 Наименование документа                       ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

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  502 Наименование документа                       ИНОЙ ДОКУМ. В СООТВ.С
                                                   ЗАКОНОДАТЕЛЬСТВОМ РФ
                                             53
  503 ГРН и дата внесения записи в ЕГРЮЛ           8167847046029
                                                   25.06.2016
  504 Причина внесения записи в ЕГРЮЛ              Представление сведений о регистрации
                                                   юридического лица в качестве страхователя
                                                   в исполнительном органе Фонда
                                                   социального страхования Российской
                                                   Федерации
  505 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             54
  506 ГРН и дата внесения записи в ЕГРЮЛ           8167847535881
                                                   27.06.2016
  507 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  508 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  509 Наименование документа                       ИНОЙ ДОКУМ. В СООТВ.С
                                                   ЗАКОНОДАТЕЛЬСТВОМ РФ

  510 Наименование документа                       ИНОЙ ДОКУМ. В СООТВ.С
                                                   ЗАКОНОДАТЕЛЬСТВОМ РФ

  511 Наименование документа                       ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001
                                             55
  512 ГРН и дата внесения записи в ЕГРЮЛ           8167847967752
                                                   19.07.2016
  513 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  514 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             56
  515 ГРН и дата внесения записи в ЕГРЮЛ           9167847057215
                                                   28.07.2016
  516 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)


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  517 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             57
  518 ГРН и дата внесения записи в ЕГРЮЛ           2167848181070
                                                   28.09.2016
  519 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о переоформлении документов,
                                                   подтверждающих наличие лицензии
                                                   (сведений о продлении срока действия
                                                   лицензии)
  520 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             58
  521 ГРН и дата внесения записи в ЕГРЮЛ           2177847844645
                                                   28.02.2017
  522 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  523 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  524 Наименование документа                       ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  525 Наименование документа                       ИНОЙ ДОКУМ. В СООТВ.С
                                                   ЗАКОНОДАТЕЛЬСТВОМ РФ
                                             59
  526 ГРН и дата внесения записи в ЕГРЮЛ           6177847818780
                                                   27.04.2017
  527 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  528 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  529 Наименование документа                       ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  530 Наименование документа                       ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001
                                             60
  531 ГРН и дата внесения записи в ЕГРЮЛ           8177847395003
                                                   21.08.2017
  532 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о предоставлении лицензии



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  533 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             61
  534 ГРН и дата внесения записи в ЕГРЮЛ           9177847665811
                                                   14.11.2017
  535 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  536 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  537 Наименование документа                       ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  538 Наименование документа                       ИНОЙ ДОКУМ. В СООТВ.С
                                                   ЗАКОНОДАТЕЛЬСТВОМ РФ
                                             62
  539 ГРН и дата внесения записи в ЕГРЮЛ           2187847218370
                                                   17.01.2018
  540 Причина внесения записи в ЕГРЮЛ              Представление лицензирующим органом
                                                   сведений о предоставлении лицензии
  541 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу
                                             63
  542 ГРН и дата внесения записи в ЕГРЮЛ           2187847868151
                                                   01.03.2018
  543 Причина внесения записи в ЕГРЮЛ              Изменение сведений о юридическом лице,
                                                   содержащихся в Едином государственном
                                                   реестре юридических лиц
  544 Наименование регистрирующего органа,         Межрайонная инспекция Федеральной
      которым запись внесена в ЕГРЮЛ               налоговой службы №15 по Санкт-
                                                   Петербургу

      Сведения о документах, представленных
      при внесении записи в ЕГРЮЛ
  545 Наименование документа                       ЗАЯВЛЕНИЕ ПО ФОРМЕ Р14001

  546 Наименование документа                       ИНОЙ ДОКУМ. В СООТВ.С
                                                   ЗАКОНОДАТЕЛЬСТВОМ РФ

  547 Наименование документа                       ИНОЙ ДОКУМ. В СООТВ.С
                                                   ЗАКОНОДАТЕЛЬСТВОМ РФ


Сведения сформированы с сайта ФНС России с использованием сервиса «Сведения о
государственной регистрации юридических лиц, индивидуальных предпринимателей,
крестьянских (фермерских) хозяйств».


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[PARTIAL TRANSLATION]

                    UNIFIED STATE REGISTER OF LEGAL ENTITIES

                                Information about a legal entity

               CONCORD MANAGEMENT AND CONSULTING LIMITED
                          LIABILITY COMPANY

 Primary State Registration Number (PSRN) 1037843002515
 TIN/RRC [Taxpayer Identification Number/ Registration Reason Code] 7825100880/784101001
 as of 05/09/2018

No.              Name of the item                                      Definition of the item
  1                           2                                                   3
                                                  Name
  1    Full name                                         CONCORD MANAGEMENT AND
                                                         CONSULTING LIMITED LIABILITY
                                                         COMPANY
  2    Abbreviated name                                  CONCORD MANAGEMENT AND
                                                         CONSULTING, LLC
  3    SRN and the date of entry into the                1037843002515
       USROLE that contains indicated information        01/08/2003
                                           Address (location)
   4   Zip code                                         191011
   5   Territorial unit of the Russian Federation       CITY OF SAINT PETERSBURG
   6   Street (Avenue, Lane, etc.)                      FONTANKA RIVER ENBANKMENT
   7   House (premises, etc.)                           BUILDING 13
   8   Building (structure, etc.)                       LETTER A
   9   Office (Apartment, etc.)                         ROOM 2-N #4
  10   SRN and the date of entry into the               8167847535881
       USROLE that contains indicated information       06/27/2016

                                         Information about the
                                               registration
 11    Means of foundation                                Establishment of a legal entity prior to
                                                          07/01/2002
 12    PSRN                                               1037843002515
 13    PSRN assignment date                               01/08/2003
 14    Registration number assigned prior to July         48492
       1, 2002
 15    Registration date prior to July 1, 2002            05/26/1997


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 16  Name of the authority which registered the Registration Chamber of the Administration of
     legal entity prior to July 1, 2002         Saint Petersburg
 17 SRN and the date of entry into the          1037843002515
     USROLE that contains indicated information 01/08/2003
    Information About the Registration Authority at the Location of the Legal Entity
 18 Name of the registration authority          Inter-district Inspectorate of the Federal
                                                Tax Service #15 for Saint Petersburg

 19   Address of the registration authority          10-12 Letter O, Krasnyy Tekstilshchik Street,
                                                     Saint Petersburg, 191124
 20   SRN and the date of entry into the             04/01/2005
      USROLE that contains indicated information
                           Information on Registration at the Tax Authority
 21   TIN                                          7825100880
 22   RRC                                          784101001
 23   Date of registration                         11/28/2005
 24   Name of the tax authority                    Inter-district Inspectorate of the Federal
                                                   Tax Service #10 for Saint Petersburg
 25   SRN and the date of entry into the            2057813030361
      USROLE that contains indicated information    11/28/2005
        Information on Registration as an Insurer at the Regional Office of the Russian
                                   Federation Retirement Fund
 26 Registration number                             088027037673
 27 Date of registration                            06/05/1997
 28 Name of the Regional Office of the Retirement RF Retirement Fund Directorate of the
      Fund                                          Central District for Saint Petersburg
                                                    Government Agency
 29 SRN and the date of entry into the              6067847397337
      USROLE that contains indicated information    05/26/2006
   Information about registration as an Insurer at the Executive Authority of the Russian
                     Federation Social Insurance Fund
 30 Registration number                             782700154978041
 31 Date of registration                            03/22/2001
 32 Name of the Executive Authority of the Social Branch # 4 of Saint Petersburg Regional
      Insurance fund                                Office of the RF Social Insurance Fund

 33   SRN and the date of entry into the            8167847046029
      USROLE that contains indicated information    06/25/2016
Information on the Authorized Capital (capital stock, charter fund, share contributions)
 34 Type of Capital                                 AUTHORIZED CAPITAL
 35 Amount (in rubles)                              500,000
 36 SRN and the date of entry into the              7117847655985
      USROLE that contains indicated information    08/17/2011


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Information about a Person Authorized to Act on Behalf of the Legal Entity without a Power of
                                           Attorney
 37 SRN and the date of entry into the USROLE    2187847868151
     information about this person                03/01/2018

 38   Last name                                    PRIGOZHIN
 39   First name                                   YEVGENIY
 40   Patronymic                                   VIKTOROVICH
 41   TIN
 42   SRN and the date of entry into the           2187847868151
      USROLE that contains indicated information   03/01/2018
 43   Position                                     CHIEF EXECUTIVE OFFICER
 44   SRN and the date of entry into the           2187847868151
      USROLE that contains indicated information   03/01/2018
                Information about the founders (participants) of the legal entity
 45   SRN and the date of entry into the USROLE    2177847844645
      information about this person                02/28/2017

 46   Last name                                    PRIGOZHIN
 47   First name                                   YEVGENIY
 48   Patronymic                                   VIKTOROVICH
 49   TIN
 50   SRN and the date of entry into the           2177847844645
      USROLE that contains indicated information   02/28/2017
 51   Par value of a share (rubles)                500,000

 52   Ownership Interest (percent)                 100

 53   SRN and the date of entry into the           2177847844645
      USROLE that contains indicated information   02/28/2017


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